        Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 1 of 58
                                                                                                United States Bankruptcy Court
                                                                                                    Southern District of Texas

                                                                                                        ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                          March 02, 2022
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

IN RE:                                               §       CASE NO. 21-60086
NEUTRAL POSTURE, INC.,                               §
                                                     §       CHAPTER 11 PROCEEDING
        Debtor                                       §       SUBCHAPTER V


                FINDINGS OF FACT, CONCLUSIONS OF LAW, AND ORDER
                  CONFIRMING DEBTOR’S PLAN OF REORGANIZATION

        On March 2, 2022, the Court held a hearing (the “Confirmation Hearing”) to consider

confirmation of the Plan of Reorganization filed by Neutral Posture, Inc. (the “Debtor”) on January

27, 2022 [ECF # 91] (as modified by this Order, the “Plan”) 1.

          On January 27, 2022 the Court entered its Order on Deadlines Related to Returning

Ballots and Filing Objections to Plan and Setting of Confirmation Hearing [ECF # 92] (the “Plan

Deadline Order”) The Plan Deadline Order, among other things, (i) established February 25th,

2022, as the deadline for submitting votes on the Plan, and filing and serving objections to

confirmation of the Plan, and (ii) scheduled a hearing commencing on March 2, 2022, at 9:00 a.m.

(Central Time) to consider confirmation of the Plan and objections thereto (the “Confirmation

Hearing”)

        Based upon the Bankruptcy Court’s consideration of, among other things, (i) the Plan, (ii)

exhibits admitted into evidence and testimony adduced at the Confirmation Hearing, (iii)

representations and arguments of counsel at the Confirmation Hearing, (iv) the docket of the

Bankruptcy Case, and (v) other relevant factors affecting this Bankruptcy Case, the Bankruptcy

Court makes the following findings of fact and conclusions of law 2, and issues this Findings of


1
 Capitalized terms not defined herein shall have the meaning given to them in the Plan.
2
 Pursuant to Bankruptcy Rule 7052, findings of fact shall be construed as conclusions of law and conclusions of law
shall be construed as findings of fact when appropriate.

ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 1 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 2 of 58




Fact, Conclusions of Law, and Order Confirming Plan of Reorganization (this “Confirmation

Order”) confirming the Plan under 11 U.S.C. § 1191(a)(consensual):

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW

      1.        Exclusive Jurisdiction; Venue; Core Proceeding. This Court has jurisdiction over

the Case pursuant to 28 U.S.C. §§ 157(b)(2) and 1334(a). Venue is proper pursuant to 28 U.S.C.

§§ 1408 and 1409. Confirmation of the Plan is a core proceeding pursuant to 28 U.S.C. §

157(b)(2)(L), and this Court has exclusive jurisdiction to determine whether the Plan complies

with the applicable provisions of the Bankruptcy Code and whether it should be confirmed.

      2.        Burden of Proof. The Debtor has met its burden of proving the elements of 11

U.S.C. § 1129(a) and (b) by a preponderance of evidence.

      3.        Notice. In accordance with Bankruptcy Rules 2002, 3018, 3019, 6004, 6006, 9007

and 9014, and the Plan Deadline Order, all due, adequate, and sufficient notice of the Plan and of

the Confirmation Hearing and of all deadlines for filing objections to the Plan have been given to

all known holders of Claims and Interests in accordance with the Plan Deadline Order. The Plan

and the Plan Deadline Order were transmitted and served in compliance with the Plan Deadline

Order and the Bankruptcy Rules, and such transmittal and service were adequate and sufficient,

and no other or further notice is or shall be required.

      4.        Solicitation. The Debtor served Plan packages in accordance with the Plan Deadline

Order, as attested to in the Certificates of Service of Plan Packages [ECF # 93]. Pursuant to the

Plan Deadline Order, Howley Law, PLLC Attn: Eric Terry (“Counsel”) was appointed to serve as

the party responsible for receiving completed ballots and determining and tabulating votes on the

Plan. Counsel filed the Ballot Summary [ECF # 102] (the “Ballot Summary”).




ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 2 OF 22
        Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 3 of 58




      5.        Pursuant to section 1127(a) of the Bankruptcy Code and Bankruptcy Rule 3019,

none of the Modifications, set forth below, require additional disclosure under section 1125 of the

Bankruptcy Code or re-solicitation of votes under section 1126 of the Bankruptcy Code, nor do

they require that the holders of Claims or Equity Interests be afforded an opportunity to change

previously-cast acceptances or rejections of the Plan. As modified by the Modifications, the Plan

shall constitute the Plan submitted for confirmation by the Court.

      6.        Objections. All objections to confirmation have been resolved.

      7.        Section 1121. Neutral Posture is a proper debtor under § 109 of the Bankruptcy

Code and qualifies as a small business debtor under Subchapter V under § 1182 of the Bankruptcy

Code.

      8.        Plan Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(1)). The             Plan

complies with applicable provisions of the Bankruptcy Code, thereby satisfying 11 U.S.C.

§1129(a)(1).

      9.        Proper Classification (11 U.S.C. §§ 1122, 1123(a)(1)). In addition to

Administrative Claims and Priority Tax Claims, which need not be designated, the Plan designates

six Classes of Claims and Interests. The Claims and Interests placed in each of Classes 1 through

6 are substantially similar to other Claims and Interests in each such Class, thereby satisfying the

requirements of 11 U.S.C. §§ 1122 and 1123(a)(1). Valid business, factual, and legal reasons exist

for separately classifying the various Classes of Claims and Interests created under the Plan, and

such Classes and the Plan treatment thereof do not unfairly discriminate between holders of Claims

or Interests. The Plan satisfies 11 U.S.C. §§ 1122 and 1123(a)(1).




ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 3 OF 22
        Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 4 of 58




    10.         Specify Unimpaired Classes (11 U.S.C. § 1123(a)(2)). The Plan complies fully with

the requirements of section 1123(a)(2) of the Bankruptcy Code. The Plan specifies which classes

of Claims and Equity Interests are not impaired under the Plan.

    11.         No Discrimination (11 U.S.C. § 1123 (a)(4)). The Plan provides for the same

treatment for each Claim or Interest in each respective Class, thereby satisfying 11 U.S.C. §

1123(a)(4).

    12.         Implementation of Plan (11 U.S.C. § 1123(a)(5)). The Plan provides adequate and

proper means for its implementation, thereby satisfying 11 U.S.C. § 1123(a)(5).

    13.         Management of the Reorganized Debtor (11 U.S.C. § 1123(a)(5)). The Plan

provides that the Debtor acting through its CEO will administer Debtor’s Assets and does not alter

the Debtor’s existing corporate agreement. Thus, the requirements of 11 U.S.C. § 1123(a)(5) are

satisfied.

    14.         Future Income of Individual Debtor (11 U.S.C. § 1123(a)(8)). The Debtor is not an

individual, and therefore, the requirements of 11 U.S.C. § 1123(a)(8) do not apply to the Case.

    15.         Additional Plan Provisions (11 U.S.C. § 1123(b)). The Plan’s provisions are

appropriate and not inconsistent with the applicable provisions of the Bankruptcy Code, including

provisions for (a) the disposition of executory contracts and unexpired leases; (b) the retention of,

and right to enforce, sue on, settle, or compromise (or decline to do any of the foregoing) all claims,

rights or causes of action, suits, and proceedings, whether in law or in equity, whether known or

unknown, that the Debtor or the Estate may hold against any person or entity; and (c) the treatment

of rights of holders of Claims and Interests.




ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 4 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 5 of 58




    16.         Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(2)). The Debtor has

complied with the applicable provisions of the Bankruptcy Code, thereby satisfying 11 U.S.C.§

1129(a)(2), specifically:

            a. The Debtor is a proper proponent of the Plan under 11 U.S.C. § 1121(a).

            b. The Debtor has complied with the applicable provisions of the Bankruptcy Code,

                the Bankruptcy Rules, and the Plan Deadline Order in transmitting the Plan.

    17.         Plan Proposed in Good Faith (11 U.S.C. § 1129(a)(3)). The Court finds that the

Debtor proposed the Plan in good faith and not by any means forbidden by law. As such, the Plan

satisfies 11 U.S.C. § 1129(a)(3).

    18.         Payments for Service or Costs and Expenses (11 U.S.C. § 1129(a)(4)). Any

payment made or to be made for services or for costs and expenses in or in connection with the

Case, or in connection with the Plan and incident to the Case, has been approved by, or are subject

to the approval of, this Court as reasonable, thereby satisfying 11 U.S.C. § 1129(a)(4).

    19.         Directors, Officers, and Insiders (11 U.S.C. § 1129(a)(5)). The Debtor has complied

with Bankruptcy Code § 1129(a)(5). The Persons that must be identified pursuant to Bankruptcy

Code § 1129(a)(5) have been identified. The continuation of Ms. Boenigk as Debtor’s CEO as the

party in control of the Reorganized Debtor as disclosed in the Plan is consistent with the interests

of Claim and equity holders and with public policy, thereby satisfying Bankruptcy Code §

1129(a)(5).

    20.         No Rate Changes (11 U.S.C. § 1129(a)(6)). No regulatory commission has any

jurisdiction over rates charged by the Debtor. Further, the Plan does not provide for rate changes

by the Debtor. Thus, 11 U.S.C. § 1129(a)(6) is not applicable in this Case.




ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 5 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 6 of 58




    21.         Best Interests of Creditors (11 U.S.C. § 1129(a)(7)). With respect to each Impaired

Class of claims and interests, each holder of a claim or interest of such Class has accepted the Plan,

or will receive or retain under the Plan on account of such claim or interest, property of a value, as

of the Effective Date of the Plan, that is not less than the amount that such holder would so receive

or retain if the Debtor were liquidated under chapter 7 of the Bankruptcy Code on such date.

Therefore, the Plan satisfies the requirements of section 1129(a)(7) of the Bankruptcy Code.

    22.         Acceptance by Impaired Classes (11 U.S.C. § 1129(a)(8)). All Classes have

accepted the Plan, are unimpaired by the Plan or are deemed to have accepted the Plan.

    23.         Treatment of Administrative and Tax Claims (11 U.S.C. § 1129(a)(9)). The

treatment of Administrative Claims and Priority Tax Claims in the Plan satisfies the requirements

of 11 U.S.C. § 1129(a)(9).

    24.         Acceptance By Impaired Class (11 U.S.C. § 1129(a)(10)). Classes 2, 3, and 5 are

Impaired under the Plan and voted to accept the Plan. Pursuant to section 1129(a)(10) of the

Bankruptcy Code, if a class of claims is impaired under the Plan, at least one class of claims that

is impaired under the Plan must accept the Plan, determined without including any acceptance of

the Plan by any insider. This requirement has been satisfied

    25.         Feasibility (11 U.S.C. § 1129(a)(11)). The Debtor has presented uncontroverted

evidence and testimony regarding feasibility of the Plan, thus satisfying the requirements of 11

U.S.C. § 1129(a)(11).

    26.         Payment of Fees (11 U.S.C. § 1129(a)(12)). The Debtor is a small business Debtor

under the provisions of Subchapter V of the Bankruptcy Code and therefore is not obligated to pay

U.S. Trustee’s fees.




ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 6 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 7 of 58




    27.         Continuation of Retirement Benefits (11 U.S.C. § 1129(a)(13)). The Debtor is not

obligated to pay any “retiree benefits,” as defined in 11 U.S.C. § 1114(a), and 11 U.S.C. §

1129(a)(13) is therefore inapplicable.

    28.         Payment of Domestic Support Obligations (11 U.S.C. § 1129(a)(14)). The Debtor

is not obligated to pay “domestic support obligations,” as defined by 11 U.S.C. § 101(14A), and

11 U.S.C. § 1129(a)(14) is therefore inapplicable.

    29.         Payments of Individual Debts (11 U.S.C. § 1129(a)(15)). The Debtor is not an

individual, and 11 U.S.C. § 1129(a)(15) is therefore inapplicable.

    30.         Transfers of Property (11 U.S.C. § 1129(a)(16)). All transfers of property of the

Plan shall be made in accordance with applicable nonbankruptcy law, thus satisfying the

requirements of 11 U.S.C. § 1129(a)(16).

    31.         Fair and Equitable; No Unfair Discrimination (11 U.S.C. § 1191(b)). All Classes

have accepted the Plan. Therefore, the Debtor does not need to proceed under the “cramdown”

provisions of § 1191(b) of the Bankruptcy Code. Regardless, the Plan does not discriminate

unfairly and is fair and equitable with respect to each class of claims or interests.

    32.         Only One Plan (11 U.S.C. § 1129(c)). The Bankruptcy Court finds and concludes

that, other than the Plan, no other plan has been prosecuted in the Bankruptcy Case. Accordingly,

the requirements of Bankruptcy Code § 1129(c) have been satisfied.

    33.         Principal Purpose of the Plan (11 U.S.C. § 1129(d)). The principal purpose of the

Plan is not the avoidance of taxes or the avoidance of the application of section 5 of the Securities

Act of 1933.




ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 7 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 8 of 58




    34.         Satisfaction of Conditions to Confirmation. The conditions to confirmation set forth

in the Plan have been satisfied or will be satisfied by entry of this Confirmation Order or have been

waived.

    35.         Settlement and Releases. Pursuant to Bankruptcy Code §§ 363 and 1123 and

Bankruptcy Rule 9019, and in consideration for the distributions and payments and other benefits

provided pursuant to the Plan, the provisions of the Plan shall constitute a good faith compromise

and settlement of Claims, Causes of Action and controversies that a holder of any Claim may have

with respect to any Allowed Claim or any distribution or payments to be made on account of such

Allowed Claim. The entry of this Confirmation Order shall constitute the Bankruptcy Court’s

approval of the compromise or settlement of all such Claims, Causes of Action and controversies

and the Bankruptcy Court’s finding that such compromise or settlement (i) is in the best interests

of the Debtor, its estate and the holders of such Claims, (ii) is fair, equitable, and reasonable, (iii)

maximizes the value of the Debtor’s estate, and (iv) is essential to the successful implementation

of the Plan.

    36.         Transfer and Vesting of the Assets in the Reorganized Debtor. The transferring and

vesting of the Assets to and in the Reorganized Debtor free and clear of all Liens and Claims and

all rights, title, and interest, except as expressly set forth in the Plan, is reasonable, necessary, and

in accordance with applicable state law and applicable provisions of the Bankruptcy Code,

including Bankruptcy Code §§ 363(b) and 1123(b)(3). On the Effective Date of the Plan, all

property of the bankruptcy estate will vest in the reorganized Debtor pursuant to 11 U.S.C. §

1141(b) & (c), free and clear of all claims and interests, except as otherwise provided in this Plan.




ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 8 OF 22
         Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 9 of 58




    37.          Executory Contracts and Unexpired Leases. On the Effective Date, all executory

contracts and unexpired leases that were not previously rejected, assumed, or assumed and

assigned shall be, and hereby are, assumed in accordance with Article 11 of the Plan.

    38.          Compliance with Bankruptcy Rule 3016. In accordance with Bankruptcy Rule

3016(a), the Plan is dated and the Debtor, which submitted and filed it, is appropriately identified.

    39.          Best Interests of Persons. Confirmation of the Plan is in the best interests of the

Debtor, its estate, holders of Claims and Interests, and all other parties in interest.

    40.          Findings of Fact and Conclusions of Law on the Record. All findings of fact and

conclusions of law announced by this Bankruptcy Court on the record in connection with

confirmation of the Plan or otherwise at the Confirmation Hearing are incorporated herein by

reference. To the extent that any of the findings of fact or conclusions of law constitutes an order

of this Court, they are adopted as such.

    41.          Retention of Jurisdiction. This Court may properly retain jurisdiction over the

matters set forth in Article 12 of the Plan and 11 U.S.C. § 1142.

          Based upon the foregoing findings of fact and conclusions of law, it is hereby ORDERED

that:

        1.       Confirmation of Plan. The Plan as modified herein is APPROVED and

CONFIRMED under Bankruptcy Code § 1191(a) (consensual). A copy of the confirmed Plan is

attached hereto as Exhibit A. The Plan is valid and enforceable pursuant to its terms, and the

terms of the Plan are incorporated by reference into and are an integral part of this Confirmation

Order.




ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 9 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 10 of 58




      2.        Modifications to the Plan. The Plan has been modified as follows:

        The claims by the Texas Workforce Commission (“TWC”) will be treated as secured
        claims to be paid over 60 months from the petition date, with interest at 4.25%, with
        payments beginning 30 days from the Effective date.

        A failure by the reorganized Debtor to make a payment to the TWC pursuant to the terms
        of the Plan shall be an Event of Default. If the reorganized Debtor fails to cure an Event
        of Default as to tax payments within ten (10) calendar days after service of written notice
        of default from the TWC, the TWC may (a) enforce the entire amount of its claim, (b)
        exercise all rights and remedies under applicable nonbankruptcy law, and (c) seek such
        relief as may be appropriate in this court. Notice of the default shall be served by first class
        mail upon the reorganized Debtor at: 3904 N. Texas Avenue, Bryan, TX 77803,
        Attn: Rebecca E. Boenigk, and upon Debtor’s attorney at: Howley Law, PLLC, 711
        Louisiana St., Suite 1850, Houston, TX 77002, Attn: Eric Terry, Esq.; eric@howley-
        law.com. The Debtor shall be allowed to cure up to two (2) defaults. Upon a third default,
        the TWC, at its option, may declare the default non-curable and proceed to collect the
        remainder of the debt.

        Notwithstanding anything in the Plan to the contrary, the Plan shall not release or discharge
        any entity, other than the Debtor or Reorganized Debtor, from any liability owed to the
        Texas Workforce Commission for a tax debt, including interest and penalties on such
        tax. This provision is not an admission by any party that such liability exists.

        Notwithstanding anything to the contrary in the Plan or in the Confirmation Order, nothing
        releases, discharges, or exculpates any person or entity other than the Reorganized Debtor
        from any liability to the United States. The foregoing sentence is neither an admission
        nor denial by the Reorganized Debtor that it is liable to the United States.

        Notwithstanding anything to the contrary, nothing herein shall exculpate the Debtor from
        liability under or otherwise impair the rights of an administrative creditor that complies
        with the post-petition agreements with the Debtor and complies with the Plan.

        The Debtor is assuming (which assumption shall be final and not subject to later decisions
        to reject) the equipment lease with Huntington National Bank, the lessor as assignee from
        the original lessor De Lage Landen Financial Services, Inc.

        Class 5 treatment is modified as follows:

                5.5 Class 5 – Unsecured Trade Claims of Creditors. Holders of Allowed Class 5
                Claims shall receive their pro rata share of the Debtor’s monthly disposable income
                for five years following the Effective Date. The first distribution to the holders of
                Class 5 claims will be made one year following the Plan Effective Date. Payments
                to holders of allowed Class 5 claims will be made to the address listed on the
                corresponding proof of claim filed in this case, or in the event no proof of claim
                was filed, the address listed in the Debtor’s schedules. Exhibit B, attached to the


ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 10 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 11 of 58




                  Confirmation Order, demonstrates that the Debtor will pay approximately
                  $56,840.45 to the holders of Class 5 claims over a five-year period. The total
                  amount of allowed Class 5 Claims is estimated to be approximately $890,000.
                  Therefore, the projected distribution to Class 5 Claims is approximately 6.4%.

          Notwithstanding anything in the Plan to the contrary, Ms. Boenigk’s rate of compensation
          for the year 2022 shall be $120,500.00. Ms. Boenigk’s rate of compensation shall only
          increase for cost of living adjustments until the $56,840.45 is paid to the Class 5 Creditors.

      3.          Objections Overruled. All objections that have not been withdrawn, waived, or

settled are OVERRULED on the merits.

      4.          Authority.

             a. The Debtor and the Reorganized Debtor are authorized and empowered to take such

actions and do all things as may be necessary or required to implement and effectuate the Plan and

this Confirmation Order and the transfer to, and the vesting in, the Reorganized Debtor of the

Assets.

             b.   The Debtor, the Reorganized Debtor, and their respective directors, officers,

agents, representatives, and attorneys are authorized, empowered, and ordered to carry out all of

the provisions of the Plan, to issue, execute, deliver, file and record, as appropriate, any instrument,

or perform any act necessary to implement, effectuate, or consummate the Plan and this

Confirmation Order and to issue, execute, deliver, file, and record, as appropriate, such other

contracts, instruments, releases, indentures, mortgages, deeds, bills of sale, assignments, leases, or

other agreements or documents, including but not limited to the documents contained in the Plan

Supplement, at ECF no. 98-1 (collectively, “Documents”), and to perform such other acts and

execute and deliver such other Documents as are required by, consistent with and necessary or

appropriate to implement, effectuate, or consummate the Plan and this Confirmation Order and the

transfers contemplated thereby and hereby, all without the requirement of further application to,

or order of, the Bankruptcy Court or further action by the Debtor’s respective shareholders,


ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 11 OF 22
         Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 12 of 58




directors, or other beneficiaries, and with the like effect as if such actions had been taken by

unanimous action of the respective shareholders, directors, partners, managers, members, or other

beneficiaries of such entities.

            c. The Debtor, the Reorganized Debtor, and their respective directors, officers, agents,

representatives, and attorneys are further authorized, empowered, and ordered to enter into and, if

applicable, cause to be filed with the Secretary of State or other applicable officials of any

applicable governmental authority any and all amended and/or restated certificates or articles of

incorporation, organization, or formation or amendments to partnership agreements, operating

agreements, or regulations and all such other actions, filings, or recordings as may be required

under appropriate provisions of the applicable laws of all applicable Governmental Authorities

with respect to compliance with Bankruptcy Code § 1123(a)(6).

            d. This Confirmation Order shall constitute all approvals and consents, if any, required

by applicable state law, and all other applicable business organization, corporation, trust, and other

laws of the applicable governmental authorities -other than the United States- with respect to the

implementation and consummation of the Plan and all actions authorized by this Confirmation

Order.

            e. Any manager or officer of the Debtor and the Reorganized Debtor is authorized to

execute and perform, for and on behalf of the Debtor, any and all Documents and other instruments

referred to in the foregoing clauses (b) and (c) and to certify or attest to any of the foregoing actions

taken by the Debtor and Reorganized Debtor, respectively. The execution of any such Document

or instrument or the taking of any such action by any manager or officer of the Debtor or the

Reorganized Debtor shall be, and hereby is, deemed conclusive evidence of the authority of such

action.



ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 12 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 13 of 58




            f. As of the Effective Date, the Reorganized Debtor is hereby irrevocably appointed

as the Debtor’s attorney-in-fact (which appointment as attorney in-fact shall be coupled with an

interest), with full authority in the place and stead of the Debtor and in the name of the Debtor to

take any action and to execute any instrument that the Reorganized Debtor, in the Reorganized

Debtor’s discretion, may deem to be necessary or advisable to convey, transfer, vest, perfect, and

confirm title of the Assets, including without limitation to issue, execute, deliver, file, and record

such contracts, instruments, releases, indentures, mortgages, deeds, bills of sale, assignments,

leases, or other agreements or documents, and to file any claims, to take any action, and to institute

any proceedings that the Reorganized Debtor may deem necessary or desirable in furtherance

thereof.

      5.        Settlements. Each settlement embodied in the Plan between the Debtor and holders

of Claims and Interests is APPROVED in all respects.

      6.        Continued Existence. The Reorganized Debtor shall continue to exist after the

Effective Date in accordance with the applicable law in the applicable jurisdiction in which the

respective Reorganized Debtor was formed under its certificates of formation or other formation

documents, as applicable, and bylaws, operating agreements or similar organizational documents,

as applicable, in effect before the Effective Date except as its certificates of formation or other

formation documents and bylaws, operating agreements, or similar organizational documents may

be amended in accordance with and to effectuate the Plan and this Confirmation Order.

      7.        Plan Classification Controlling. The terms of the Plan shall govern the classification

of Claims and Interests for purposes of the distributions and payments to be made thereunder.

      8.        Preservation of Causes of Action. The provisions of Article 7 of the Plan are hereby

approved in their entirety. The Debtor and the Reorganized Debtor, as applicable, expressly



ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 13 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 14 of 58




reserve all rights to prosecute any and all of their respective claims and causes of action against

any Person, except as otherwise expressly provided in the Plan. Unless any causes of action against

a Person are expressly waived, relinquished, exculpated, released, compromised, or settled in the

Plan or a Bankruptcy Court order, the Debtor, and the Reorganized Debtor, as applicable, expressly

reserve all of their respective Causes of Action for later adjudication.

      9.          Debtor’s Assets. Except as otherwise set forth in the Plan or this Confirmation

Order, on the Effective Date, the Assets shall be transferred and assigned to and shall vest in the

Reorganized Debtor free and clear of all Liens and Claims and all rights, title, and interests except

as expressly set forth in the Plan without any further action required on part of the Debtor. Except

as otherwise set forth in the Plan, from and after the Effective Date, the Reorganized Debtor shall

perform and pay when due liabilities under, or related to the ownership or operation of, the Assets.

    10.           Assumption and Rejection of Executory Contracts and Unexpired Leases. On the

Effective Date, all executory contracts and unexpired leases that were not previously rejected,

assumed, or assumed and assigned shall be, and hereby are, assumed in accordance with Article

11 of the Plan.

    11.           Bar Date for Filing Proofs of Claim Relating to Executory Contracts and Unexpired

Leases Rejected Pursuant to the Plan. Claims arising out of the rejection of an executory contract

or unexpired lease pursuant to the Plan must be filed with the Court by no later than the earlier of

(a) thirty (30) days after the Effective Date, or (b) thirty (30) days after the date of any Final Order

approving a Debtor’s rejection of such Executory Contract. Any Claim not Timely Filed shall be

forever barred and may not be asserted against the Debtor, Reorganized Debtor, or their property

or their Estate. All Claims arising from the rejection of executory contracts and unexpired leases

shall be treated as set forth in Section 11.5 the Plan. The Debtor shall, pursuant to Section



ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 14 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 15 of 58




1123(a)(5)(G) and 1123(b)(2) of the Bankruptcy Code and consistent with Section 365 of the

Bankruptcy Code, file and serve a pleading with the Court, within sixty (60) days after the

Confirmation Date, listing the Cure Claims of all Executory Contracts or Unexpired Leases to be

assumed. The non-debtor parties to such Executory Contracts and Unexpired Leases to be assumed

by the Debtor shall have fifteen (15) days from service to object to the proposed Cure Claim

identified by the Debtor. Except as provided otherwise, the Debtor shall retain its right to reject

any of its Executory Contracts and Unexpired Leases, including contracts or leases that are subject

to a dispute concerning the amount of the Cure Claim, until five (5) Business Days following the

entry of a Final Order resolving an objection to the amount of the Cure Claim.

    12.         Authority. All actions and transfers contemplated under the Plan, including but not

limited to, any certificates, agreements or other documents or instruments to be executed in

connection with the transfer and assignment of the Assets to the Reorganized Debtor shall be

authorized upon entry of this Confirmation Order without the need of further approvals, notices or

meetings of the Debtor’s directors, officers, managers, and/or members.

    13.         Legal Binding Effect. The provisions of the Plan shall bind all holders of Claims

and Interests and their respective successors and assigns, whether or not they accepted the Plan.

    14.         Discharges, Releases, and Injunctions. Except as modified in this Confirmation

Order, the discharge and injunctions, moratoriums, and limitations of liability set forth in the Plan,

including the Temporary Injunction in Article 14 of the Plan, are approved, and authorized in their

entirety. Because the Debtor’s Plan is confirmed under 1191(a), on the Effective Date, the Debtor

shall be discharged from any debt that arose before confirmation of this Plan except that the Debtor

shall not be discharged of any debt imposed by this Plan.




ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 15 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 16 of 58




    15.         EXCEPT AS OTHERWISE PROVIDED IN THE PLAN OR IN THIS

CONFIRMATION ORDER, ALL HOLDERS OF CLAIMS SHALL BE AND ARE

HEREBY         PERMANENTLY             RESTRAINED           AND   ENJOINED   FROM:   (A)

COMMENCING OR CONTINUING IN ANY MANNER, ANY ACTION OR OTHER

PROCEEDING OF ANY KIND WITH RESPECT TO ANY SUCH CLAIM AGAINST THE

REORGANIZED DEBTOR OR THE ASSETS; (B) ENFORCING, ATTACHING,

COLLECTING, OR RECOVERING ON ACCOUNT OF ANY CLAIM BY ANY MANNER

OR MEANS, ANY JUDGMENT, AWARD, DECREE, OR ORDER AGAINST THE

REORGANIZED DEBTOR OR THE ASSETS EXCEPT PURSUANT TO AND IN

ACCORDANCE WITH THIS PLAN; (C) CREATING, PERFECTING, OR ENFORCING

ANY ENCUMBRANCE OF ANY KIND AGAINST EITHER THE ASSETS OR THE

REORGANIZED DEBTOR; (D) ASSERTING ANY CONTROL OVER, INTEREST,

RIGHTS OR TITLE IN OR TO ANY OF THE ASSETS EXCEPT AS PROVIDED IN THIS

PLAN; (E) ASSERTING ANY SETOFF, OR RECOUPMENT OF ANY KIND AGAINST

ANY OBLIGATION DUE THE REORGANIZED DEBTOR AS ASSIGNEES, EXCEPT

UPON LEAVE OF THE BANKRUPTCY COURT OR EXCEPT AS AUTHORIZED BY

SECTION 553 OF THE BANKRUPTCY CODE; AND (F) PERFORMING ANY ACT, IN

ANY MANNER, IN ANY PLACE WHATSOEVER, THAT DOES NOT CONFORM TO

OR COMPLY WITH THE PROVISIONS OF THE PLAN; PROVIDED, HOWEVER,

THAT THIS INJUNCTION SHALL NOT BAR ANY CREDITOR FROM ASSERTING

ANY RIGHT GRANTED PURSUANT TO THIS PLAN; PROVIDED, FURTHER,

HOWEVER, THAT EACH HOLDER OF A CONTESTED CLAIM SHALL BE




ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 16 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 17 of 58




ENTITLED TO ENFORCE ITS RIGHTS UNDER THE PLAN, INCLUDING SEEKING

ALLOWANCE OF SUCH CONTESTED CLAIM PURSUANT TO THE PLAN.

    16.         Insurance. Notwithstanding anything to the contrary in this Confirmation Order or

the Plan, neither the releases set forth in the Plan nor confirmation and consummation of the Plan

shall have any effect on insurance policies of the Debtor or its current or former management

(including, but not limited to, director and officer liability policies to the extent that the Debtor or

its current or former management has any rights under such policies) in which the Debtor or its

current or former management are or were an insured party or any claim asserted thereunder. Each

insurance company is prohibited from denying, refusing, altering, or delaying coverage for the

Debtor (or its current or former managers) on any basis regarding or related to the Debtor’s

Bankruptcy Case, the Plan, or any provision within the Plan, including the treatment or means of

distribution set out within the Plan for insured Claims.

    17.         Exemption from Certain Taxes. In accordance with Bankruptcy Code § 1146(a),

none of the issuance, transfer or exchange of any securities under the Plan, the release of any

mortgage, deed of trust or other Lien, the making, assignment, filing or recording of any lease or

sublease, the transfer of title to or ownership of any of the Debtor’s interests in any property, or

the making or delivery of any deed, bill of sale or other instrument of transfer under, in furtherance

of, or in connection with the Plan shall be subject to any document recording tax, stamp tax,

conveyance fee, sales or use tax, bulk sale tax, intangibles or similar tax, mortgage tax, stamp act,

real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee

or other similar tax or governmental assessment in the United States. Federal, state and/or local

governmental officials or agents shall forgo the collection of any such tax or governmental




ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 17 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 18 of 58




assessment and accept for filing and recordation any of the foregoing instruments or other

documents without the payment of any such tax or governmental assessment.

    18.         Exemption from Securities Laws. To the extent constituting securities under the

1933 Act, the Interests in the Reorganized Debtor offered, sold, issued and/or distributed pursuant

to the Plan are deemed to have been offered, sold, issued and/or distributed pursuant to Bankruptcy

Code § 1145. The offer, sale, issuance, and/or distribution of the Interests in the Reorganized

Debtor pursuant to the Plan are and shall be exempt from the requirements of Section 5 of the

Securities Act and any State or local law requiring registration for offer or sale of a security or

registration or licensing of an issuer, broker, or dealer thereof pursuant to Bankruptcy Code §

1145(a).

    19.         Management of the Reorganized Debtor. The management of the Reorganized

Debtor shall be as set forth in the Plan commencing as of the Effective Date.

    20.         Bar Date for Professional Compensation and Reimbursement Claims. All

professionals or other persons or entities requesting compensation or reimbursement of expenses

pursuant to sections 327, 328, 330, 331, 503(b) and 1103 of the Bankruptcy Code for services

rendered before the Effective Date shall file and serve on the Reorganized Debtor an application

for final allowance of compensation and reimbursement of expenses within thirty (30) days after

the Effective Date. Any professional fees and reimbursements or expenses incurred by the

Reorganized Debtor subsequent to the Effective Date may be paid without application to the

Bankruptcy Court.

    21.         Reservation of Rights. Prior to the Effective Date, none of the filing of the Plan,

any statement or provision contained therein or the taking of any action by the Debtor with respect

to the Plan shall be or shall be deemed to be an admission or waiver of any rights of the Debtor of



ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 18 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 19 of 58




any kind, including with respect to the holders of Claims or Interests or as to any treatment or

classification of any contract or lease.

    22.         Notice of Effective Date. On or before five Business Days after the occurrence of

the Effective Date, the Reorganized Debtor shall mail or cause to be mailed to all holders of

Claims, Interests, and all other parties on the master service list via first class United States mail,

postage prepaid, a notice that informs such Persons of (a) the entry of the Confirmation Order, (b)

the occurrence of the Effective Date, and (c) such other matters as the Reorganized Debtor deem

appropriate or as may be ordered by the Bankruptcy Court.

    23.         Waiver or Estoppel. Each Holder of a Claim or an equity Interest shall be deemed

to have waived any right to assert any argument, including the right to argue that its Claim or

equity Interest should be Allowed in a certain amount, in a certain priority, Secured, or not

subordinated, by virtue of an agreement made with the Debtor or its counsel, or any other Person,

if such agreement was not disclosed in the Plan, papers filed with this Court prior to the

Confirmation Hearing, on the record in the Confirmation Hearing or in this Confirmation Order.

    24.         Non-Occurrence of Effective Date. If the Effective Date does not occur on or prior

to 120 days after the Confirmation Date, then (a) the Plan shall be null and void in all respects, (b)

settlements or compromises embodied in the Plan (including the fixing or limiting to an amount

certain of any Claim or Class of Claims), assumption or rejection of executory contracts or

unexpired leases affected by the Plan, and any documents or agreements executed pursuant to the

Plan, shall be deemed null and void, and (c) nothing contained in the Plan shall (i) constitute a

waiver or release of any Claims by or against, or any Interests in, the Debtor or any other Person,

(ii) prejudice in any manner the rights of the Debtor or any other Person, or (iii) constitute an

admission of any sort by the Debtor or any other Person.



ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 19 OF 22
         Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 20 of 58




       25.      References to Plan Provisions. The failure specifically to include or reference any

particular provision of the Plan in this Confirmation Order shall not diminish or impair the

effectiveness of such provision, it being the intent of the Bankruptcy Court that the Plan be

confirmed in its entirety except as modified on the record in the Confirmation Hearing or in this

Confirmation Order.

       26.      Reversal. If any or all of the provisions of this Confirmation Order are hereafter

reversed, modified, or vacated by subsequent order of this Bankruptcy Court or any other court,

such reversal, modification, or vacatur shall not affect the validity of the acts or obligations

incurred or undertaken under or in connection with the Plan prior to the Debtor’s receipt of written

notice of any such order. Notwithstanding any such reversal, modification, or vacatur of this

Confirmation Order, any such act or obligation incurred or undertaken pursuant to, and in reliance

on, this Confirmation Order prior to the effective date of such reversal, modification or vacatur

shall be governed in all respects by the provisions of this Confirmation Order and the Plan or any

amendments or modifications thereto.

       27.      Applicable Non-Bankruptcy Law. Pursuant to Bankruptcy Code §§ 1123(a) and

1142(a), the provisions of this Confirmation Order, the Plan, or any amendments or modifications

thereto shall apply and be enforceable notwithstanding any otherwise applicable non-bankruptcy

law.

       28.      Modification of the Plan Prior to Substantial Consummation. After the

Confirmation Date and prior to the Effective Date of the Plan, the Debtor may, under Bankruptcy

Code § 1127(b), (i) amend the Plan so long as such amendment shall not materially and adversely

affect the treatment of any holder of a Claim, (ii) institute proceedings in the Bankruptcy Court to

remedy any defect or omission or reconcile any inconsistencies in the Plan, the Disclosure



ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 20 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 21 of 58




Statement Order, or this Confirmation Order, and (iii) amend the Plan as may be necessary to carry

out the purposes and effects of the Plan so long as such amendment does not materially or

adversely affect the treatment of holders of Claims or Interests under the Plan; provided, however,

prior notice of any amendment shall be served in accordance with the Bankruptcy Rules or Order

of the Bankruptcy Court.

    29.         Conflicts between Plan and Confirmation Order. If there is any conflict between

the Plan and this Confirmation Order, the terms of this Confirmation Order shall control.

    30.         Severability of Plan Provisions. Each term and provision of the Plan, as it may be

altered or interpreted, is valid and enforceable pursuant to its terms.

    31.         Retention of Jurisdiction. This Bankruptcy Court’s retention of jurisdiction as set

forth in the Plan is approved. Such retention of jurisdiction does not affect the finality of this

Confirmation Order.

    32.         Nonseverable and Mutually Dependent. The provisions of this Confirmation Order

are nonseverable and mutually dependent.

    33.         Recordable Form. This Confirmation Order shall be, and hereby is, declared to be

in recordable form and shall be accepted by any filing or recording officer or authority of any Case

applicable governmental authority for filing and recording purposes without further or additional

orders, certifications, or other supporting documents. Further, the Bankruptcy Court authorizes the

Debtor or the Reorganized Debtor, as applicable, and any secured creditor, to file a memorandum

of this Confirmation Order in any appropriate filing or recording office as evidence of the matters

herein contained.

    34.         The Debtor shall be the Disbursing Agent under the Plan. Debtor shall file a notice

of substantial consummation pursuant to section 1183(c)(2). Upon substantial consummation of



ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 21 OF 22
       Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 22 of 58




the Plan, the duties of the Trustee in the Debtor’s bankruptcy case shall terminate as provided

under 11 U.S.C. § 1183(c)(1). The Trustee shall complete any remaining duties under 11 U.S.C.

§ 1183(b)(1) and (4) up to the time of his discharge, including making a final report (“Final

Report”) and filing a final account of the administration of the Debtor’s bankruptcy estate with the

Court and the U.S. Trustee. The Debtor shall file with the Bankruptcy Court operating reports in

a form satisfactory to the U.S. Trustee on a quarterly basis until this Chapter 11 case is closed.

Signed: March __, 2022

            August
            March 02,02, 2019
                      2022
                                                  ________________________________________
                                                  THE HONORABLE CHRISTOPHER M. LOPEZ
                                                  UNITED STATES BANKRUPTCY JUDGE

        .




ORDER CONFIRMING DEBTOR’S PLAN OF REORGANIZATIONPAGE 22 OF 22
Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 23 of 58




                    EXHIBIT A
      Case
       Case21-60086
            21-60086 Document
                      Document108
                               91 Filed in TXSB on 01/27/22
                                                   03/02/22 Page 1
                                                                 24ofof30
                                                                        58




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                                  §         CASE NO. 21-60086
NEUTRAL POSTURE, INC.,                                  §
                                                        §         CHAPTER 11 PROCEEDING
         Debtor                                         §         SUBCHAPTER V


                    DEBTOR’S PLAN OF REORGANIZATION

                                          IMPORTANT DATES


Date by which Ballots must be received: February 25th, 2022.

Date by which Objections to Confirmation of the Plan must be filed and served February 25th, 2022.

Hearing on confirmation of the Plan: March 2nd, 2022 at 9:00 a.m. (Prevailing Central Time)




                                               HOWLEY LAW PLLC

                                               /s/ Eric B. Terry______
                                               Tom A. Howley, State Bar No. 24010115
                                               Eric B. Terry, State Bar No. 00794729
                                               HOWLEY LAW PLLC
                                               Pennzoil Place – South Tower
                                               711 Louisiana Street Suite 1850
                                               Houston, Texas 77002
                                               Phone: 713-333-9125
                                               Email: tom@howley-law.com
                                                          eric@howley-law.com
                                               COUNSEL FOR THE DEBTOR
      Case
       Case21-60086
            21-60086 Document
                      Document108
                               91 Filed in TXSB on 01/27/22
                                                   03/02/22 Page 2
                                                                 25ofof30
                                                                        58




       NEUTRAL POSTURE, INC. Debtor and Debtor-in-Possession, proposes this Plan of
Reorganization. As required by the Bankruptcy Code, the Plan classifies claims and interests in
various classes according to their right to priority of payments as provided in the Bankruptcy Code.
The Plan states whether each class of claims or interests is impaired or unimpaired. The Plan
provides the treatment each class will receive under the Plan.

       ALL INTERESTED PARTIES SHOULD READ THIS DOCUMENT
       CAREFULLY AND DISCUSS IT WITH THEIR LEGAL AND FINANCIAL
       ADVISORS.

       THE PLAN MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE THE PLAN,
       YOU SHOULD IMMEDIATELY CONTACT THE DEBTORS TO RESOLVE
       THE DISPUTE. IF YOU AND THE DEBTORS CANNOT AGREE, YOU MUST
       FILE AND SERVE ANY OBJECTION ON OR BEFORE FEBRUARY 25TH,
       2022. IF YOU DO NOT FILE A TIMELY RESPONSE, THE PLAN MAY BE
       APPROVED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
       PLAN AND HAVE NOT REACHED AN AGREEMENT WITH THE DEBTORS,
       YOU MUST ATTEND THE CONFIRMATION HEARING. UNLESS THE
       PARTIES AGREE OTHERWISE, THE BANKRUPTCY COURT MAY
       CONSIDER EVIDENCE AT THE HEARING AND MAY CONFIRM THE
       PLAN AT THE HEARING.

       REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.


                                            ARTICLE 1

                     DEFINITIONS AND RULES OF CONSTRUCTION

1.1       Definitions. Applicable definitions contained in the Bankruptcy Code are incorporated
into the Plan except as modified in this Article I. The following definitions shall have the meanings
as specified herein, and shall be designated, when such special definitions are applicable, with
capital letters, and these definitions shall be enforceable as terms of the Plan in conjunction with
the respective matters to which they reference or define:

        1.1.1     “Administrative Expense Claim” or “Administrative Claim” means any right to
payment constituting a cost or expense of administration of the Chapter 11 Case Allowed pursuant
to sections 503(b) or 507 of the Bankruptcy Code including, without limitation (a) any fees or
charges assessed against a Debtor’s Estate under 28 U.S.C. § 1930, and (b) other Administrative
Expense Claims as may be ordered and Allowed by the Bankruptcy Court.

       1.1.2      “Allowed” or “Allowed Claim” means: (a) a Claim that: (i) has been listed by
the Debtor in its Schedules as other than disputed, contingent or unliquidated; and (ii) is not
otherwise a Disputed Claim; (b) a Claim (i) for which a proof of Claim or request for payment of
Administrative Expense Claim has been filed by the applicable Bar Date or otherwise has been
                                                                                          2|Page
      Case
       Case21-60086
            21-60086 Document
                      Document108
                               91 Filed in TXSB on 01/27/22
                                                   03/02/22 Page 3
                                                                 26ofof30
                                                                        58




deemed timely filed under applicable law; and (ii) that is not otherwise a Disputed Claim; or (c) a
Claim that is allowed: (i) in any stipulation executed by the Debtor and the Claim holder; (ii) in a
Final Order; or (iii) pursuant to the terms of the Plan.

       1.1.3     “Avoidance Actions” means causes of action arising under chapter 5 of the
Bankruptcy Code or under related state or federal statutes or common law, including fraudulent
conveyance laws, whether or not litigation has been commenced to prosecute such causes of action
which are expressly preserved for the Estate hereunder.

       1.1.4       “Ballot” means the form or forms distributed to each holder of an impaired
Claim entitled to vote on the Plan on which the holder indicates acceptance or rejection of the Plan.

        1.1.5       “Bankruptcy Code” or “Code” means Title 11, United States Code, Section 101
et. seq., in effect on the Filing Date, and all amendments thereto and in effect on or before the
Confirmation Date, or thereafter to the extent such amendments are retroactive.

       1.1.6    “Bankruptcy Rules” means collectively, the Federal Rules of Bankruptcy
Procedure and the local rules of the Bankruptcy Court, in effect on the Filing Date, and all
amendments thereto and in effect on or before the Confirmation Date, or thereafter to the extent
such amendments are retroactive.

       1.1.7      “Bar Date” means the applicable bar date by which a Proof of Claim or request
for payment of an Administrative Expense Claim must be or must have been filed, as established
by an order of the Bankruptcy Court, including the Bar Date Order or the Confirmation Order.

        1.1.8     “Business Day” means a day other than a Saturday, Sunday, or legal holiday (as
such term is defined in Bankruptcy Rule 9006(a)).

       1.1.9      “Cash” means legal tender of the United States of America.

       1.1.10     “Chapter 11 Case” or “Case” means the Chapter 11 Case styled as In re: Neutral
Posture, Inc., Case No. 21-60086 CL, commenced on November 1, 2021, in the United States
Bankruptcy Court for the Southern District of Texas.

       1.1.11     “Chase” means JPMorgan Chase Bank, N.A.

        1.1.12      “Chase Loan Documents” means all loan documents related to the Chase Pre-
Petition Secured Claim, including but not limited to: (a) as to Loan No. ending 8001, that certain
Promissory Note executed by Neutral Posture, Inc. in favor of JPMorgan Chase Bank, N.A. dated
June 20, 2013 in the original principal amount of $1,500,000, which was subsequently replaced,
renewed and/or extended and is secured by, without limitation, the Credit Agreement dated
January 18, 2018, the Continuing Security Agreement dated January 18, 2018, as well as the Term
Note, Credit Agreement, and Deed of Trust, Assignment of Leases and Rents, Security and
Financing Agreement dated June 14, 2019, and the guarantors Rebecca E. Boenigk and Jaye E.
Congleton also each executed a Continuing Guaranty dated January 18, 2018; (b) as to Loan No.
ending 8002, that certain Promissory Note executed by Neutral Posture, Inc. in favor of JPMorgan
                                                                                          3|Page
      Case
       Case21-60086
            21-60086 Document
                      Document108
                               91 Filed in TXSB on 01/27/22
                                                   03/02/22 Page 4
                                                                 27ofof30
                                                                        58




Chase Bank, N.A. dated June 20, 2013 in the original principal amount of $1,280,000, as evidence
of a Commercial Mortgage Loan which was subsequently modified by Change in Terms of
Agreement dated June 14, 2019 and is secured by, without limitation, Deed of Trust, Assignment
of Leases and Rent, Security Agreement and Financing Statement dated June 20, 2013, and the
guarantors Rebecca E. Boenigk and Jaye E. Congleton also each executed a Continuing Unlimited
Guaranty dated June 20, 2013; (c) as to Loan No. ending in 8014, that certain Promissory Note
executed by Neutral Posture, Inc. in favor of JPMorgan Chase Bank, N.A. dated March 30, 2015
in the original principal amount of $1,000,000 which was subsequently modified by Change in
Terms of Agreement dated June 14, 2019; and (d) as to Loan No. ending in 8015, that certain
Promissory Note executed by Neutral Posture, Inc. in favor of JPMorgan Chase Bank, N.A. dated
April 9, 2015 in the original principal amount of $500,000 which was subsequently modified
Change in Terms of Agreement dated June 14, 2019 and is secured by, without limitation, the
Commercial Security Agreement dated April 9, 2015.

       1.1.13      “Chase Pre-Petition Secured Claim” means all amounts due under the following
loans: Loan No. ending 8001 in the original principal amount of $1,500,000; Loan No. ending
8002 in the original principal amount of $1,280,000; Loan No. ending 8014 in the original principal
amount of $1,000,000; and Loan No. ending 8015 in the original principal amount of $500,000.

       1.1.14   “Claim(s)” means a “claim” against the Debtor, as defined in Section 101(5) of
the Bankruptcy Code.

        1.1.15    “Claim Objection Deadline” means the later of (a) sixty (60) days after the
Effective Date and (b) such later date as may be ordered by the Bankruptcy Court pursuant to a
motion filed prior to the expiration of such sixty (60) day period.

       1.1.16     “Class” or “Classification” means the particular class designated in the Plan,
pursuant to Section 1122 and Section 1129 of the Bankruptcy Code, into which the Claims of all
Creditors or Equity Interests have been segregated for purposes of voting and distributions.

        1.1.17     “Collateral” means any Property or interest in Property of the Estate which is
subject to a Lien to secure the payment or performance of a Claim, which Lien is not subject to
avoidance under the Bankruptcy Code, disallowance under Section 506 of the Bankruptcy Code,
or is otherwise invalid under the Bankruptcy Code or applicable state law.

       1.1.18    “Confirmation” or “Confirmation of the Plan” means the approval of this Plan
by the Bankruptcy Court at the Confirmation Hearing.

       1.1.19    “Confirmation Date” means the date on which the clerk dockets a Confirmation
Order determining that the Plan meets the requirements of Chapter 11 of the Bankruptcy Code,
which order has been previously entered by the Court.

      1.1.20    “Confirmation Hearing” means the hearing(s) which will be held before the
Bankruptcy Court in which the Debtor will seek Confirmation of this Plan.

       1.1.21     “Confirmation Order” means the order of the Bankruptcy Court confirming the
                                                                                         4|Page
        Case
         Case21-60086
              21-60086 Document
                        Document108
                                 91 Filed in TXSB on 01/27/22
                                                     03/02/22 Page 5
                                                                   28ofof30
                                                                          58




Plan.

       1.1.22     “Court” or “Bankruptcy Court” means the United States Bankruptcy Court for
the Southern District of Texas, Houston Division, presiding over the Chapter 11 Case, or, if
necessary, the United States District Court for the District and Division having original jurisdiction
over the Chapter 11 Case.

         1.1.23   “Creditor(s)” means all creditors of the Debtor holding Claims for debts,
liabilities, demands or Claims of any character whatsoever, as defined in Section 101(5) of the
Bankruptcy Code.

      1.1.24    “Cure Claim” means any Claim based upon the Debtor’s defaults under any
Executory Contract to which the Debtor was a party on the Filing Date which has been or will be
assumed under Section 365 of the Bankruptcy Code or pursuant to the Plan.

       1.1.25      “Debtor” “Debtor in Possession” or “Neutral Posture, Inc.” means Neutral
Posture, Inc., a Texas corporation.

        1.1.26    “Deficiency Claim” means, with respect to a Secured Claim, the amount by
which the Allowed Claim exceeds the sum of (i) any set off rights of the holder of such Claim
against the Debtor under Sections 506 and 553 of the Bankruptcy Code and (ii) the net proceeds
realized from the disposition of the Collateral securing such Claim or, if such Collateral is not
liquidated, the value of the interests of the holder of the Claim in the Debtor’s interest in the
Collateral securing such Claim, as determined by the Bankruptcy Court in accordance with Section
506 of the Bankruptcy Code; provided, however, that if the holder of such Claim makes the
election provided for in Section 1111(b)(2) of the Bankruptcy Code, there shall be no Deficiency
Claim in respect of such Claim.

        1.1.27    “Disallowed” means, with respect to a Claim, Interest, Administrative Expense,
or portion thereof, that it is determined by a Final Order that the Claim, Interest, Administrative
Expense, or portion thereof is not allowed under sections 502 or 503 of the Bankruptcy Code.

        1.1.28    “Disbursing Agent” means the Reorganized Debtor.

       1.1.29     “Disposable Income” means “the income that is received by the debtor that is
not reasonably necessary to be expended . . . for the payment of expenditures necessary for the
continuation, preservation, or operation of the business of the debtor.”

        1.1.30    “Disputed Claim” means (i) a Claim, Interest or Administrative Expense that is
subject to a pending objection; or (ii) until the Objection Deadline:

                (a) a Claim for which a corresponding Claim has not been listed in the Debtor’s
        Schedules or for which the corresponding Claim is listed in the Debtor’s Schedules with a
        differing amount, with a differing classification, or as a disputed, contingent, or
        unliquidated Claim;

                                                                                           5|Page
      Case
       Case21-60086
            21-60086 Document
                      Document108
                               91 Filed in TXSB on 01/27/22
                                                   03/02/22 Page 6
                                                                 29ofof30
                                                                        58




               (b) a Claim which a Debtor in good faith believes is held by a holder either (i) from
       which property is recoverable by the applicable Debtor under any of sections 542, 543, 550
       or 553 of the Bankruptcy Code or (ii) that is a transferee of a transfer avoidable under
       sections 522(f), 522(h), 544, 545, 547, 548, 549 or 724(a) of the Bankruptcy Code unless
       the holder has paid the amount, or turned over any such property for which such holder is
       liable under the terms of sections 522(i), 542, 543, 550, or 553 of the Bankruptcy Code;
       and

               (c) an Interest for which a corresponding Interest has not been listed in the Debtor’s
       List of Equity Interests or has been listed in a different number (to the extent of such
       difference).

        1.1.31    “Disputed Claim and Administrative Reserve” means the Cash reserve to be
established pursuant to Section [9.7] of the Plan, in an amount sufficient to satisfy in full, once
Allowed, the Claims of holders of: (i) Disputed Claims, (ii) Administrative Expense Claims, (iii)
Professional Fee Claims, and (iv) the costs and expenses of administering the Chapter 11 Cases
from the Effective Date until the time the Chapter 11 Cases are closed. For sake of clarity, only
Allowed Claims will be paid out of the Disputed Claim and Administrative Reserve.

       1.1.32    “Effective Date” means the first Business Day following fourteen (14) days after
the Confirmation Date on which all conditions to the effectiveness of this Plan specified in
Section 8 have been met or waived.

        1.1.32     “Equity Interest(s)” or “Interest(s)” means all of the common stock in the Debtor
and all warrants, options or other rights associated with those securities.

      1.1.33    “Estate” means the estate created pursuant to section 541 of the Bankruptcy
Code by the commencement of the Chapter 11 Case.

      1.1.34    “Executory Contract” shall have the meaning assigned in Section 365 of the
Bankruptcy Code.

       1.1.35    “Filing Date” or “Petition Date” means November 1, 2021, the date upon which
the Chapter 11 Case was commenced as a voluntary bankruptcy case.

       1.1.36     “Final Decree” means the order of the Court entered after the Plan is
substantially consummated which closes the Chapter 11 Case.

        1.1.37     “Final Order” means an order or judgment of a court of competent jurisdiction
that has been entered on the docket maintained by the clerk of such court and has not been reversed,
vacated or stayed and as to which (a) the time to appeal, petition for certiorari, or move for a stay,
new trial, reargument, or rehearing has expired and as to which no appeal, petition for certiorari
or other proceedings for a stay, new trial, reargument or rehearing shall then be pending or (b) if
an appeal, writ of certiorari, stay, new trial, reargument or rehearing thereof has been sought, (i)
such order or judgment shall have been affirmed by the highest court to which such order was
appealed, certiorari shall have been denied or a stay, new trial, reargument or rehearing shall have
                                                                                           6|Page
      Case
       Case21-60086
            21-60086 Document
                      Document108
                               91 Filed in TXSB on 01/27/22
                                                   03/02/22 Page 7
                                                                 30ofof30
                                                                        58




been denied or resulted in no modification of such order and (ii) the time to take any further appeal,
petition for certiorari, or move for a stay, new trial, reargument or rehearing shall have expired;
provided, however, that no order or judgment shall fail to be a “Final Order” solely because of the
possibility that a motion pursuant to section 502(j) or 1144 of the Bankruptcy Code or under Rule
60 of the Federal Rules of Civil Procedure, or Bankruptcy Rule 9024 has been or may be filed with
respect to such order or judgment..

       1.1.38     “Impaired Class” and “Unimpaired Class” shall have the meaning described in
Section 1124 of the Bankruptcy Code.

       1.1.39     “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

        1.1.40    “Objection Deadline” means the deadline for Reorganized Debtor to file
objections to Claims with the Bankruptcy Court established in Article 9 of this Plan.

      1.1.41    “Person” means an individual, partnership, corporation, limited liability
company, business trust, joint stock company, trust, unincorporated association, joint venture,
governmental authority, or entity of whatever nature.

      1.1.42   “Plan” means Debtor’s Plan of Reorganization in its present form or as it may
be amended, modified, or supplemented from time to time, together with all exhibits thereto.

        1.1.43      “Plan Supplement” means, including without limitation, the forms of the
material documents to implement the provisions of the Plan that are to be filed with the Bankruptcy
Court as early as is practicable, but in no event later than five (5) Business Days before the
Confirmation Hearing, or on such other date as the Bankruptcy Court may determine. The Plan
Supplement is incorporated into the Plan as if fully set forth in the Plan and all references to the
Plan refer also to the Plan Supplement.

        1.1.44    “Priority Claim” means any Claim (or portion of such Claim) entitled to priority
under Section 507 of the Bankruptcy Code and that is not an Administrative Expense Claim, a
Priority Tax Claim, or a Secured Claim.

       1.1.45     “Priority Secured Tax Claim” means a Secured Claim of a governmental entity
whose claim would be a Priority Tax Claim under Sections 502(i) or 507(a) of the Bankruptcy
Code if it was not a Secured Claim.

        1.1.46    “Priority Tax Claims” means a Claim that is entitled to priority pursuant to
Sections 502(i) or 507(a)(8) of the Bankruptcy Code other than (i) a Secured Tax Claim, or (ii) an
ad valorem or other form of state or local authority tax assessed on property which was transferred
or foreclosed prior to the Confirmation Date.

       1.1.47     “Professional” means any professional employed in the Chapter 11 Case
pursuant to Sections 327, 328 or 1103 of the Bankruptcy Code or otherwise, and any professional
seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
pursuant to Section 503(b) of the Bankruptcy Code.
                                                                                           7|Page
      Case
       Case21-60086
            21-60086 Document
                      Document108
                               91 Filed in TXSB on 01/27/22
                                                   03/02/22 Page 8
                                                                 31ofof30
                                                                        58




        1.1.48     “Professional Fee Claim” means a Claim of a Professional for compensation for
services rendered, and/or reimbursement of costs and expenses incurred, after the Filing Date and
prior to and including the Effective Date.

        1.1.49    “Proof of Claim” means any proof of claim filed with the Bankruptcy Court with
respect to the Debtor pursuant to Bankruptcy Rules 3001 or 3002.

       1.1.50     “Property” or “Property of the Estate” means all assets of Debtor which are
property of the Estate pursuant to Section 541 of the Bankruptcy Code.

        1.1.51    “Pro Rata Share” means with respect to Claims, the proportion that the amount
of an Allowed Claim in a particular Class bears to the aggregate amount of all Claims in such
Class, exclusive of Disallowed Claims, but including Disputed Claims.

       1.1.52      “Reorganized Debtor” or “Reorganized Neutral Posture” means. Neutral
Posture, Inc., on and after the Effective Date, surviving after confirmation of the Plan.

       1.1.53     “SBA” means United States Small Business Administration.

      1.1.54    “SBA Pre-Petition Secured Claim” includes a loan outstanding in the principal
amount of $500,000.00 tied to the COVID-19 Economic Injury Disaster Loan program
implemented by the U.S Small Business Administration.
       1.1.55    “Schedules” and “Statements” means the Schedules, Statements and Lists filed
by the Debtor with the Bankruptcy Court pursuant to Bankruptcy Rule 1007, as they have been
and may be amended or supplemented from time to time.

       1.1.56      “Secured Claim” means the Claim of any Creditor which is secured by a valid,
duly perfected Lien (whether voluntary or involuntary) on, or a security interest in Collateral, or
which is subject to setoff under Bankruptcy Code Section 553, to the extent of the lesser of: (i) the
value of the Collateral; or (ii) the amount of such Allowed Claim.

        1.1.57     “Subchapter V Trustee” means Jarrod Martin, or his successor appointed to
serve as trustee pursuant to section 1183 of the Bankruptcy Code.

       1.1.58     “T2W” means T2W, LLC.

        1.1.59    “T2W Pre-Petition Secured Claim” includes the indebtedness arising from three
loans in the aggregate original principal amount of $1,250,000.00, secured by a second, third and
fourth deed of trust mortgage liens on the real estate and the Debtor’s personal property.

        1.1.60      “Timely Filed” with respect to a Claim, Interest or Administrative Expense,
means, that a proof of such Claim or Interest or request for payment of such Administrative
Expense was filed with the Bankruptcy Court within such applicable period of time fixed by the
Plan, statute, or pursuant to both Bankruptcy rule 3003(c)(3)and a Final Order (e.g., the Bar Date).
                                                                                          8|Page
      Case
       Case21-60086
            21-60086 Document
                      Document108
                               91 Filed in TXSB on 01/27/22
                                                   03/02/22 Page 9
                                                                 32ofof30
                                                                        58




       1.1.61     “Trade Claims” means a Claim held by a Creditor arising on account of labor
performed for, or services, materials, goods or equipment furnished and billed or invoiced to, the
Debtors in the ordinary course of business, other than a claim for professional services.

        1.1.62     “United States Trustee” means the United States Trustee for the Southern
District of Texas.

        1.1.63     “Unsecured Claim” means any Claim (regardless of whether such Claim is
covered by insurance) that is neither secured nor entitled to priority under the Bankruptcy Code,
or by a Final Order of the Bankruptcy Court, including, but not limited to: (a) any claim arising
from the rejection of an Executory Contract under section 365 of the Bankruptcy Code, and (b)
any portion of a Claim to the extent the value of the holder’s interest in the applicable Estate’s
interest in the property securing such Claim is less than the amount of the Claim, or to the extent
that the amount of the Claim subject to setoff is less than the amount of the Claim, as determined
pursuant to Section 506(a) of the Bankruptcy Code.

       1.1.64    “Unsecured Creditor” means all holders of Unsecured Claims other than holders
of Allowed Deficiency Claims.

1.2      Rules of Construction.

       (a)        Interpretation. Unless otherwise specified herein, all section, article and exhibit
references in the Plan are to the respective section in, article of, and exhibit to, the Plan, as the
same may be amended, waived, or modified from time to time. All headings in this Plan are for
convenience of reference only and shall not limit or otherwise affect the provisions of the Plan.

        (b)       Construction and Application of Bankruptcy Code Definitions. Unless
otherwise defined herein, words and terms defined in section 101 of the Bankruptcy Code shall
have the same meanings when used in the Plan. Words or terms used but not defined herein shall
have the meanings ascribed to such terms or words, if any, in the Bankruptcy Code. The rules of
construction contained in section 102 of the Bankruptcy Code shall apply to the construction of
the Plan.

       (c)        Other Terms. The words “herein,” “hereof,” “hereto,” “hereunder,” and other
words of similar import refer to the Plan as a whole and not to any particular article, section,
subsection, or clause contained in the Plan.

       (d)       Time. In computing any period of time prescribed or allowed by the Plan, the
provisions of Bankruptcy Rule 9006(a) shall apply.




                                                                                          9|Page
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page10
                                                               33of
                                                                  of30
                                                                     58




                                          ARTICLE 2

 2.1 Background

        On January 1, 1989, the Debtor was started by Rebecca E. Boenigk in her garage. With
an initial investment of $20,000.00, the Debtor manufactured chairs and served as the sole
shareholder. In January 1992, Jaye E. Congleton joined the company with a $30,000.00
investment for a fifty percent ownership stake. In 1997, the Debtor went public on the
NASDAQ and remained public until 2001 when the Debtor was taken private again.

       During the past 30 years there have been many changes and pivots in the company all
with the desired goal of efficiency, profitability and being a good corporate citizen in the
community. The Debtor started out as a bad back chair company making suitable chairs for
individuals with medical issues. The Debtor has since expanded to manufacture seating for
any work situation.

        The Debtor acquired another seating company in 1998 and also purchased a system
furniture division in 2014 as part of its strategic growth initiatives. Currently, the product line
includes everything needed for a complete office. It includes high performance, ergonomic
seating; task, executive, conference and guest seating; healthcare, lab and industrial seating;
specialty seating; ergonomic workplace accessories such as monitor arms, keyboard trays,
antifatigue mats and footrests; sit/stand solutions; systems furniture including cubicles,
worksurfaces, storage, filing, tables, conference and training room furniture; and height
adjustable tables.

       The Debtor currently employs 47 individuals and puts an emphasis on being a value-
added member of the Bryan/College Station community. For example, Ms. Boenigk and her
husband brought the Ronald McDonald House to Bryan/College Station and Ms. Boenigk has
chaired the auction committee for 7 years. The Debtor has supported over 100 local charitable
organizations and schools by either donating money or product for their auctions. The Debtor
has also provided school supplies to current employees for over 20 years. The Debtor also
provides paid time off for employees that are doing charitable work in the community. Many
of the Debtor’s employees have been with the Debtor for an extended period of time and the turnover
rate is much lower than the standard in the industry.

        The Debtor serves customers across the United States, Puerto Rico, Canada, China,
India and the Middle East. Customers include the federal government, state and local
governments, universities, corporations and small businesses. The Debtor sells inventory
through a nationwide network of sales representatives and dealers. The Debtor’s sales
representatives provide a full line of services, including ergonomic assessment, training,
design, delivery and installation. The Debtor’s dealers provide project management, design
and installation as well as quotes for our government and commercial customers. The sales
representatives and dealers are an integral part of our sales plan and the Debtor would not be
able to generate sales without them.


                                                                                       10 | P a g e
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page11
                                                               34of
                                                                  of30
                                                                     58




       Ms. Boenigk served as the auction chair for the local American Cancer Society for 6
years and raised over $1 million for them. She currently serves as the treasurer for Women
Impacting Public Policy (an organization that represents over 15 million women owned small
businesses). She served on the Board of Directors of the Women’s Business Enterprise
National Council for 11 years representing women business owners nationwide. She was
appointed by the Administrator of the Small Business Administration to serve on the National
Women’s Business Council from 2006 to 2009. She has testified before Congress on 2
separate occasions regarding taxes on small businesses and competition from the federal
prison industry. Finally, she was elected as the first woman president of an industry
association (the Business and Institutional Furniture Manufacturers Association) and she still
serves on the Board.

2.2    Events Leading Up To Bankruptcy

        The Debtor has been impacted by the global pandemic caused by COVID-19. Buying
patterns from clients, especially corporations and government entities, changed significantly
as a result of the pandemic. The Debtor began experiencing a decline in customer orders in
2020 and this malaise continued until recently.

        This downward trend in revenue caused serious strain on the underlying business and
its ability to service its secured loans with Chase Bank. As a result, the Debtor initiated
numerous conversations either directly or through counsel in an attempt to restructure and
amend the existing loans with Chase Bank. All of the standalone proposals were rejected.
The only proposal that was considered by Chase Bank was tied to a sale leaseback transaction
regarding the building and unfortunately the investor walked away from the deal.

       On October 8, 2021, counsel for Chase Bank sent out a notice of foreclosure related to
the real estate owned by the Debtor. This notice immediately chilled the Debtor’s efforts to
locate a third-party investor with regard to the real estate. If the foreclosure proceeded, 47
individuals would be out of a job and a 33-year old company that is a valued member of the
Bryan/College Station community would cease to exist.

         Given the foreclosure notice the Debtor had no option but to invoke the automatic stay
protection of this Court to pursue a successful reorganization of the business pursuant to 11
U.S. Code, Subchapter V – Small Business Debtor Reorganization provisions. The Debtor
is just starting to turn the corner here and the forecast is getting better. Customer orders have
increased recently and are trending in the right direction. Sales for 2021 will be lower than
2020 by 13%. Many logistical and supply chain issues tied to the pandemic still present a
challenge.

        The Debtor currently has four outstanding loans with Chase Bank with different sets of
collateral: (a) a promissory note dated June 20, 2013 in the original principal amount of
$1,280,000, as amended from time to time, with a first priority lien deed of trust on real estate and
a lien on personal property; (b) a promissory note dated June 20, 2013 in the original principal
amount of $1,500,000, as amended from time to time, with a deed of trust on the real estate and a

                                                                                         11 | P a g e
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page12
                                                               35of
                                                                  of30
                                                                     58




lien on the personal property of the Debtor; (c) a promissory note dated March 30, 2015 in the
original principal amount of $1,000,000, as amended from time to time, with a lien on personal
property; and (d) a promissory note dated April 9, 2015 in the original principal amount of
$500,000, as amended from time to time, with a lien on personal property. These loans are
guaranteed personally by Ms. Boenigk and her mother. Approximately 2 years ago, Chase Bank
requested that the Debtor move its accounts outside of Chase Bank. As a result, all of the Debtor’s
cash as of the petition date is deposited with Amarillo National Bank and Chase Bank does not
have a deposit account control agreement in place.

       The Debtor also has three loans in the aggregate original principal amount of $1,250,000.00
secured by a second, third and fourth duly perfected deed of trust mortgages liens on the real estate
and a valid, duly perfected security interest and lien on all personal property of the Debtor.

      The Debtor also has a loan outstanding in the principal amount of $500,000.00 tied to the
COVID-19 Economic Injury Disaster Loan program implemented by the U.S Small Business
Administration.

        As of the petition date, the Debtor owed approximately $1,250,000 to vendors and third-
party providers incurred in the ordinary course of its business.

       Certain critical vendors have been paid pursuant to court order reducing the amount of
unsecured debt to approximately $890,000.


2.3      Description Of Assets

       The Debtor filed schedules of all of its assets and liabilities on the Petition Date. Complete
copies of the schedules are available from the Clerk of the Court. The primary assets of the
bankruptcy estate, their estimated values and associated liens are as follows:

                                                  VALUE AT PETITION
                             ASSET                      DATE
                 Cash                                   $373,448.40
                 Accounts Receivable                    $981,356.00

                 Inventory                              $239,045.00
                 Equipment                              $313,705.00
                 Real Property                        $2,700,000.00
                 Intellectual Property                    Unknown

                 Other (Unliquidated Claims and           Unknown
                 Causes of Action)

                 Total                                $4,607,554.40

                         Secured Debt

                 Pre-Petition Liens                   $4,700,000.00

                                                                                         12 | P a g e
        Case
        Case21-60086
             21-60086 Document
                      Document108
                               91 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on01/27/22
                                                   03/02/22 Page
                                                            Page13
                                                                 36of
                                                                    of30
                                                                       58




  2.4   Liquidation Analysis

         Under sections 1191 and 1129(a)(7) of the Bankruptcy Code a plan can be confirmed
 without the accepting votes of impaired classes of claims as long as each such class would receive
 under the plan “not less than” they would receive “if the debtor were liquidated under chapter 7.”

        If this case were converted to chapter 7 and the assets of the Debtor liquidated Such a
  liquidation would destroy the going-concern value of this business because it would require
  the cessation of business operations and termination of all employees. The Debtor would not
  be able to fulfill its commitments to its customers and would default in its orders to those
  customers. Its accounts receivable would be impaired as those customers would offset their
  damages against any amounts owed to the Debtor. The Debtor’s inventory would be
  liquidated for a fraction of its cost. Ultimately, there may not be sufficient asset value to pay
  the Debtor’s secured creditors and other creditors and equity interest holders would receive
  nothing on account of their claims and interest.

2.5      Sources Of Income

           The Debtor’s sole source of income is from the sale of products primarily to large
retailers, but additional revenue is derived from direct to customer sales. For the period from 2019
through the petition date in 2021, the Debtor’s gross revenue was as follows:


                                   YEAR                GROSS REVENUE

                                    2021                       $7,911,424.00

                                    2020                       $9,092,461.00

                                    2019                       $9,711,505.00

 2.6     Projection Of Disposable Income

        The Debtor is just starting to turn the corner here and the forecast is getting better.
Customer orders have increased recently and are trending in the right direction. Sales for
2021will be lower than 2020 by 13%. Many logistical and supply chain issues tied to the
pandemic still present a challenge.

         The Debtor’s projections demonstrate the disposable income paid on a yearly basis to the
holders of claims in Class 5 are attached as Exhibit A.

                                            ARTICLE 3

                     CLASSIFICATION OF CLAIMS AND INTERESTS

3.1       Claims and Equity Interests Classified. In order to make the Plan easier to understand,
to aid in the Plan balloting process and for all confirmation matters, all Claims (except Priority
Claims and Priority Tax Claims) and Equity Interests shall be classified as set forth in this Article
                                                                                           13 | P a g e
       Case
       Case21-60086
            21-60086 Document
                     Document108
                              91 Filed
                                 FiledininTXSB
                                          TXSBon
                                               on01/27/22
                                                  03/02/22 Page
                                                           Page14
                                                                37of
                                                                   of30
                                                                      58




2 of the Plan.

3.2      Priority Claims and Priority Tax Claims. Section 1123(a)(1) of the Bankruptcy Code
provides that Priority Claims and Priority Tax Claims shall not be classified for purposes of voting
or receiving distributions under the Plan. All such Claims are to be treated separately as
unclassified Claims on the terms set forth in Article 3 of the Plan.

 3.3     Classes of Claims and Equity Interests. The Plan classifies Claims and Equity Interests
 as follows:

        Class        Designation                               Impairment            Entitled to Vote
      N/A            Priority Non-Tax Claims                        N/A                      No
      N/A            Priority Tax Claims                            N/A                      No
      Class 1        Administrative Expense Claims               Unimpaired         No (deemed to accept)

      Class 2        Chase Pre-Petition Secured Claim             Impaired                  Yes

      Class 3        T2W, LLC Pre-Petition Secured Claim          Impaired                  Yes

      Class 4        SBA Pre-Petition Secured Claim              Unimpaired                  No

      Class 5        Unsecured Trade Claims of Creditors          Impaired                  Yes


      Class 6        Equity                                      Unimpaired         No (deemed to accept)




3.4       Impairment Controversies. All controversies as to whether a Class of Claims or Equity
Interests are impaired under the Plan shall be resolved by the Bankruptcy Court after notice and
hearing.
                                               ARTICLE

                        TREATMENT OF UNCLASSIFIED CLAIMS

4.1       Priority Claims. Except to the extent that a holder of an Allowed Priority Claim and the
Debtor agree to a different treatment, each holder of an Allowed Priority Claim will receive in full
satisfaction of such Claim, Cash payments from Reorganized Debtor on the later of tenth Business
Day of the first month following the Effective Date or 30 days after such claim becomes an
Allowed Claim.
4.2      Priority Tax Claims. Except to the extent that a holder of an Allowed Priority Tax Claim
and the Debtor agree to a different treatment, each holder of an Allowed Priority Tax Claim will
receive in full satisfaction of such Claim, Cash payments from Reorganized Debtor over a period
not exceeding five (5) years from the Petition Date. Payments by Reorganized Debtor provided
                                                                                         14 | P a g e
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page15
                                                               38of
                                                                  of30
                                                                     58




for herein shall be made in equal monthly installments with the first payment due on the tenth
Business Day of the first month following the Effective Date. Interest shall accrue on the Priority
Tax Claim in accordance with section 511 of the Bankruptcy Code. All Allowed Priority Tax
Claims that are not due and payable on or before the Effective Date shall be paid in the ordinary
course of business as such obligations become due. To the extent the holder of an Allowed Priority
Tax Claim has a Lien on the Debtor’s property, such Lien shall remain in place until such Allowed
Priority Tax Claim has been paid in full.
                                           ARTICLE 5

   TREATMENT OF CLASSIFIED CLAIMS AND INTERESTS UNDER THE PLAN


5.1       Class 1 - Administrative Expense. All Administrative Expense Claims against the Debtor
shall be treated as follows:
        5.1.1       Time for Filing. All holders of Administrative Expense Claims, other than
Professional Persons holding Professional Fee Claims, shall file with the Bankruptcy Court a
request for payment of such Claims within thirty (30) days after the Effective Date. Any such
request must be served on the Debtor, its’ counsel and all parties requesting notice in the
Bankruptcy Case, and must, at a minimum, set forth (i) the name of the holder of the
Administrative Expense Claim; (ii) the amount of the Administrative Expense Claim; and (iii) the
basis for the Administrative Expense Claim. A failure to file any such request in a timely fashion
will result in the Administrative Expense Claim in question being discharged and its holder forever
barred from asserting such Administrative Expense Claim against the Debtor or the Reorganized
Debtor.
        5.1.2     Allowance. An Administrative Expense Claim for which a request for payment
has been properly filed shall become an Allowed Administrative Expense Claim unless an
objection is filed by the date that is thirty (30) days after a request for payment of such
Administrative Expense Claim is filed. If an objection is timely filed, the Administrative Expense
Claim in question shall become an Allowed Administrative Expense Claim only to the extent so
Allowed by Final Order of the Bankruptcy Court.
        5.1.3      Payment. Except to the extent (i) that a holder of an Allowed Class 1 Claim and
the Debtor agree to a different treatment or (ii) existing agreements between the Debtor and the
holder of a Class 1 Claim provide for payment of such Allowed Class 1 Claims on different terms,
in which case such Claim shall be satisfied in accordance with those pre- existing agreements or
policies, each holder of an Allowed Claim in Class 1 shall receive a Cash payment from the
Reorganized Debtor in the amount of the Allowed Class 1 Claim on the later of tenth Business
Day of the first month following the Effective Date or 30 days after such claim becomes an
Allowed Claim.
        5.1.4     Professional Fee Claims. Every Professional Person holding a Professional Fee
Claim that has not previously been the subject of a final fee application and accompanying
Bankruptcy Court order shall file a final application for payment of fees and reimbursement of
expenses no later than the date that is thirty (30) days after the Effective Date; provided, however,
that a Professional Person may supplement its request up to and including the date of the hearing

                                                                                         15 | P a g e
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page16
                                                               39of
                                                                  of30
                                                                     58




on such request to account for fees and expenses incurred following the Effective Date in
connection with, among other things, preparation of the request for allowance of such Professional
Fee Claim, attendance at the hearing thereon and any other allowable fees or expenses not
previously requested. Any such final fee application shall conform to and comply with all
applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules. The
last date to object to any final fee application shall be the twenty-first (21st) day after such fee
application has been filed with the Bankruptcy Court. Allowed Professional Fee Claims shall be
paid in full in Cash by the Reorganized Debtor from Cash on hand or from operating Cash flow
on (or as soon as reasonably practicable after) the later of (A) the Effective Date or (B) three (3)
days after entry of an Order by the Bankruptcy Court allowing such Professional Fee Claim. On
or as soon as reasonably practicable after the Effective Date, to the extent not already paid, each
holder of an Allowed Claim in Class 1 shall receive Cash in the amount of the Allowed Class 1
Claim, except to the extent that: (i) the holder of a Class 1 Claim and the Debtor agree to different
treatment; or (ii) existing agreements between the Debtor and the holder of a Class 1 Claim provide
for payment of such Allowed Class 1 Claims on different terms, such Claims shall be satisfied in
accordance with those pre- existing agreements or policies.
5.2        Class 2 – Chase Pre-Petition Secured Claim. The Allowed Class 2 Claim shall be
Allowed as a secured claim in the amount of $3,096,988.30, as of the Petition Date, plus all
allowable attorneys’ fees after the Petition Date under 11 U.S.C. § 506(b). As provided by Section
9.4 of this Plan, no post-petition, pre-effective date interest shall be paid on such allowed secured
claim. The schedule of interest rates, monthly payment amounts, and term set forth on Exhibit A
shall govern the repayment schedule for the Allowed Class 2 Claim. Payments on the Allowed
Class 2 Claim shall commence on the 1st day of the month following sixty (60) days after the
effective date of the Plan and continue on the 1st day of each month thereafter for a seven (7) year
term. All accrued and unpaid amounts due and owing on the Allowed Class 2 Claim shall be paid
in full at on the 1st day of the 85th month following the Effective Date.
          Notwithstanding any other provision of this Chapter 11 Plan, including but not limited to
Section 7.7, the Allowed Class 2 Claim shall continue to be secured by a Lien on the Reorganized
Debtor’s property to the same extent, validity and priority as existed prepetition, and shall remain
in full force and effect until the Allowed Class 2 Claim is paid in full. The respective rights and
obligations of the parties shall continue to be governed by the Chase Loan Documents except as
expressly modified by this Section 5.2. Chase may apply payments received pursuant to this
Section 5.2 to any amounts due and outstanding on the Allowed Class 2 Claim in its sole and
absolute discretion. In the event of a default of the terms of this Chapter 11 Plan or the Chase Loan
Documents, Chase shall be entitled to exercise any and all of its rights and remedies under the
Bankruptcy Code, this Chapter 11 Plan, and applicable non-bankruptcy law, including but not
limited to those under the Chase Loan Documents.
5.3       Class 3 – T2W, LLC Pre-Petition Secured Claim. The Allowed Class 3 Claim shall be
Allowed as a secured claim in the amount of $970,773.24. The holder of the Allowed Class 3
Claim shall receive a Consolidated and Restated Promissory Note (“T2WConsolidated Note”),
which shall provide for the payment terms described therein which shall track the interest and
monthly payment terms set forth in the attached Exhibit A, with the initial payment to occur on
the sixtieth (60th) day after the Plan Effective Date. The T2W Note shall include 84 monthly
payments (“Term”), with all unpaid and accrued principal, interest, fees and costs due and payable
                                                                                         16 | P a g e
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page17
                                                               40of
                                                                  of30
                                                                     58




at the end of the Term (“Balloon”). The Debtor reserves the right to pay the allowed secured clam
of T2W sooner without penalty. T2W shall retain all prepetition liens, which shall remain in full
force and effect postpetition until the indebtedness is paid in full. To secure repayment of the
T2W Consolidated Note, the Debtor shall deliver an Amended and Restated, Consolidated Deed
of Trust and Assignment of Rents (“T2W Deed of Trust”) and a Security Agreement (“T2W
Security Agreement”) and related loan instruments to T2W. The form of the T2W Consolidated
Note, T2W Deed of Trust, and T2W Security Agreement and related loan documents shall be filed
by the Debtor with the Plan Supplement. Such loan documents shall include all terms customarily
included in commercial loan documents, including, but not limited to covenants prohibiting the
Debtor from incurring additional debts or disposing of its assets without the consent of either Chase
or T2W. The Allowed Class 3 Claim of T2W includes all principal and interest owing under the
three notes as of the Petition Date PLUS attorneys’ fees and costs as provided by the pre-petition
loan agreements in an amount of $15,000.00. T2W shall not be required to file an application for
approval of its attorneys’ fees pursuant to Section 506 of the Bankruptcy Code.
5.4       Class 4 – SBA Pre-Petition Secured Claim. The Allowed Class 4 Claim shall be an
allowed secured claim in the amount of $500,000.00 which claim shall be reinstated and paid on
the same terms as existed prepetition. The first payment shall commence in May, 2022 unless
otherwise extended. All prepetition liens of the SBA shall remain in full force and effect
postpetition until the indebtedness is paid in full.
5.5      Class 5 - Unsecured Trade Claims of Creditors. Holders of Allowed Class 5 Claims
shall receive their pro rata share of the Debtor’s monthly disposable income for three years
following the Effective Date. The first distribution to the holders of Class 5 claims will be made
one year following the Plan Effective Date. Payments to holders of allowed Class 5 claims will
be made to the address listed on the corresponding proof of claim filed in this case, or in the event
no proof of claim was filed, the address listed in the Debtor’s schedules. Exhibit A demonstrates
that the Debtor will pay approximately $40,000 to the holders of Class 5 claims over a three-year
period. The total amount of allowed Class 5 Claims is estimated to be approximately $890,000.
Therefore, the projected distribution to Class 5 Claims is approximately 4%.
5.6       Class 6 – Equity. All holders of equity interests shall retain their interests in the Debtor.
Until all amounts owing to senior classes have been paid as provided by the terms of the Plan, the
Debtor shall not make any dividends, distributions, or redemption payments to the holders of Class
6 Equity Interests on account of their interest in the Debtor. Notwithstanding anything herein, (i)
Ms. Boenigk may pay herself a reasonable salary and (ii) the actual shareholder tax liability may
be distributed
                                            ARTICLE 6
                      ACCEPTANCE OR REJECTION OF THE PLAN

6.1      Presumed Acceptance of Plan. Any Class that is unimpaired under this Plan is
conclusively presumed to accept this Plan. Any Class that voted to accept the Plan is presumed to
accept this Plan.
6.2       Presumed Rejection of Plan. Any Class that voted to reject the Plan is presumed to reject
this Plan.

                                                                                           17 | P a g e
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page18
                                                               41of
                                                                  of30
                                                                     58




                                           ARTICLE 7

                 IMPLEMENTATION AND EXECUTION OF THE PLAN

7.1       Means. This Plan is based upon the distributions to creditor by the Debtor, at its option,
by means of one or more of the following: (a) cash presently held by the Debtor and cash to be
acquired through the operation of its business including cash generated from the contracts the
Debtor is currently under and those contracts that the Debtor may win at a later date; and (b)
collection of accounts receivable. The Debtor shall deliver to the holders of Allowed Secured
Claims the instruments reflecting the treatment of such claims. The Debtor shall include the form
of all such instruments in the Plan Supplement.

7.2      Continued Existence. Debtor shall continue to exist as Reorganized Debtor after the
Effective Date. Ms. Rebecca E. Boenigk shall continue to operate the Debtor’s business as its CEO
and majority shareholder. Ms. Boenigk’s rate of compensation for the year 2022 shall be
$120,500.00.

7.3       Operations of Reorganized Debtor. After the Effective Date, the Reorganized Debtor
shall continue in business and shall carry on its business affairs without consultation or approval
from the Bankruptcy Court or the Creditors. The Reorganized Debtor shall be free to use or sell
its assets, hire, and compensate Professionals and otherwise operate free of the restrictions,
limitations and constraints existing under the Code. The Reorganized Debtor shall operate in
conformity with the Plan and shall make distributions to Creditors timely and in accordance with
the Plan.

7.4       Vesting of Assets. Unless a plan is confirmed under 1191(b), on the Effective Date, all
Property of the Estate of the Debtor, including, but not limited to any rights or causes of action,
whether under the Bankruptcy Code or any other applicable law, shall vest in Reorganized Debtor.
Claims and causes of action shall include, but not be limited to claims against Knoll, Inc. in cause
no 170602337. If a plan is confirmed under 1191(b), all Property shall not vest with the
Reorganized Debtor until all plan payments have been made. Upon any conversion of the
Bankruptcy Case to Chapter 7, all assets vesting in Reorganized Debtor shall pass to the Chapter
7 trustee as property of the Chapter 7 Bankruptcy Estate.

7.5       Preservation of Debtor’s Claims. Any and all causes of action which the Debtor may
have, including, but not limited to Avoidance Actions, or which may be enforceable under any
statute, shall be preserved and shall constitute Property of the Estate and shall be conveyed to
Reorganized Debtor on the Effective Date. The Court shall retain jurisdiction to determine all such
causes of action.

7.6       Preservation of Insurance. Nothing in this Plan, including the discharge or release of
the Debtor provided in this Plan, shall diminish or impair the enforceability of any insurance
policies that may cover any Claims against the Debtor, the Reorganized Debtor or any member,
officer, director, agent, professional, financial advisor or other Person covered by any insurance
policy maintained by the Debtor.

                                                                                        18 | P a g e
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page19
                                                               42of
                                                                  of30
                                                                     58




7.7      Release of Liens. Except as otherwise provided in the Plan, the Confirmation Order, or
in any document, instrument, or other agreement created in connection with the Plan, all
mortgages, deeds of trust, Liens or other security interests against the Property of the Estate shall
be released on the Effective Date.

7.8       Exemption from Stamp or Similar Taxes. In accordance with Section 1146(c) of the
Bankruptcy Code: (a) the issuance, distribution, transfer or exchange of Reorganized Debtor
Common Stock or other Estate Property; (b) the creation, modification, consolidation or recording
of any deed of trust or other security interest, the securing of additional indebtedness by such
means or by other means in furtherance of, on in connection with, this Plan or the Confirmation
Order; (c) the making, assignment, modification or recording of any lease or sublease; or (d) the
making, delivery, or recording of a deed or other instrument of transfer under, in furtherance of,
or in connection with, this Plan, the Confirmation Order, or any transaction contemplated by any
of the foregoing shall not be subject to any document recording tax, stamp tax, conveyance fee,
intangibles or similar tax, mortgage tax or stamp act or real estate transfer or mortgage recording
tax, or any governmental assessment. The appropriate state or local government officials or agents
shall be directed to forego the collection of any such tax or assessment and to accept for filing or
recordation any of the foregoing instruments or other documents without the payment of any such
tax or assessment.

7.9      Recordable Order. Upon Confirmation of the Plan, the Confirmation Order shall be
deemed to be in recordable form and shall be accepted by any recording officer for filing and
recording purposes without further or additional orders when certified by the Clerk of the
Bankruptcy Court.

7.10      Effectuating Documents and Further Transactions. The chief executive officer and
other authorized officer of the Debtor and/or Reorganized Debtor, shall be authorized to execute,
deliver, file, or record such contracts, instruments, releases, indentures, and other agreements or
documents and take or direct such actions as may be necessary or appropriate to effectuate and
further evidence the terms and conditions of the Plan.

                                           ARTICLE 8

                                 CONDITIONS PRECEDENT

8.1     Conditions To Confirmation. Confirmation of the Plan shall not occur unless the
following conditions have been satisfied by the Debtor or waived, in writing, by the Debtor:

       (i)        The Bankruptcy Court shall have made such findings and determinations
       regarding the Plan as shall enable the entry of the Confirmation Order, and any other order
       entered in conjunction therewith, in form and substance acceptable to the Debtor.

8.2    Conditions to Effectiveness. Notwithstanding any other provision of the Plan or the
Confirmation Order, the Effective Date of the Plan shall not occur unless and until each of the

                                                                                         19 | P a g e
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page20
                                                               43of
                                                                  of30
                                                                     58




following conditions has been satisfied by the Debtor or, if applicable, waived, in writing;

       (i)        The Confirmation Order shall have become a Final Order, provided however,
       that the Effective Date may occur at a point in time when the Confirmation Order is not a
       Final Order at the option of the Debtor, unless the effectiveness of the Confirmation Order
       has been stayed or vacated, in which case the Effective Date may be, again at the option of
       the Debtor, the first Business Day immediately following the expiration or other
       termination of any stay of effectiveness of the Confirmation Order; and

       (ii)     No request for revocation of the Confirmation Order under Section 1144 of the
       Bankruptcy Code has been made, or, if made, remains pending.

 8.3 Notice to Bankruptcy Court. Promptly after the Effective Date, Reorganized Debtor
 shall file with the clerk of the Bankruptcy Court a notice that the Plan has become effective;
 provided, however, that failure to file such notice shall not affect the effectiveness of the Plan
 or the rights and substantive obligations of any entity hereunder.

                                           ARTICLE 9

            RESOLUTION OF OBJECTIONS TO CLAIMS AND INTERESTS

9.1      Claims on File. The Debtor is relying upon the formal proofs of claims on file and the
Debtor’s Schedules currently on file in seeking confirmation of the Plan. No informal Proofs of
Claim shall be deemed to have been filed in this Chapter 11 Case. No informal amendment,
modification or supplementation shall be deemed filed in this Chapter 11 Case. No Proofs of Claim
may be filed, amended, modified, or supplemented after the Confirmation Date without the consent
of the Debtor. Any filing prohibited by this paragraph shall be void.

9.2       Objections to Claims. Except as is otherwise provided for with respect to Professional
Fees or as otherwise ordered by the Bankruptcy Court, objections to Claims and Equity Interests
shall be prosecuted as follows:

        9.2.1     Pre-Effective Date Objections - Prior to the Effective Date, any party entitled to
do so under the Bankruptcy Code or order of the Court may file and prosecute objections
to Claims. The failure of the Debtor prior to Confirmation to object to a Claim for purposes of
voting on the Plan shall in no way be deemed to be a waiver of the right of Reorganized Debtor to
object to such Claim in whole or in part.

        9.2.2      Post Effective Date Objections - After the Effective Date, objections to Claims
and Equity Interests may be made exclusively by Reorganized Debtor. Objections to Claims and
Equity Interests shall be made as soon as practicable, but in no event later than sixty (60) days
after the Effective Date (unless otherwise ordered by the Bankruptcy Court). The filing,
prosecution, settlement, or withdrawal of all objections to Claims and Equity Interests filed after
the Effective Date are reserved to the sound discretion of Reorganized Debtor.

9.3      Disallowance of Penalties and Fines. Except as provided for in the Plan, no distribution
                                                                                           20 | P a g e
       Case
       Case21-60086
            21-60086 Document
                     Document108
                              91 Filed
                                 FiledininTXSB
                                          TXSBon
                                               on01/27/22
                                                  03/02/22 Page
                                                           Page21
                                                                44of
                                                                   of30
                                                                      58




shall be made under this Plan on account of, and no Allowed Claim shall include, any fine, penalty
or exemplary or punitive damages relating to or arising from any default or breach by the Debtor,
and any Claim on account of such fine, penalty, or exemplary or punitive damages shall be deemed
disallowed, whether or not an objection is filed to such Claim.

9.4       Interest on Claims. Unless otherwise specifically provided for in the Plan or the
Confirmation Order, or required by applicable bankruptcy law, post-petition interest shall not
accrue or be paid on Claims, and no holder of a Claim shall be entitled to interest accruing on or
after the Petition Date on any Claim. Interest shall not accrue or be paid upon any Disputed Claim
in respect of the period from the Petition Date to the date a final distribution is made thereon if and
after such Disputed Claim becomes an Allowed Claim.

                                           ARTICLE 10

                       PROVISIONS GOVERNING DISTRIBUTIONS

10.1     Distributions For Claims Allowed as of the Effective Date. No distributions shall be
made upon any Claim or Equity Interest except to Allowed Claims and Equity Interests, whether
allowance results from: (i) the provisions of the Code; (ii) the entry of a Final Order on an objection
to a Claim or Equity Interest; (iii) the determination of an objection to Claim or Equity Interest
contained in an adversary proceeding or other pending litigation which the Court has directed to
liquidate the Claim of a Creditor Equity Interest holder; (iv) through stipulation entered into
between Reorganized Debtor and a Creditor or holder of an Equity Interest; or (v) under the express
terms of the Plan. Nothing herein shall preclude the payment of the Debtor’s operating expenses
without Court order.

10.2     Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         10.2.1     Delivery of Distributions in General - Distributions to holders of Allowed
Claims shall be made at the addresses set forth in the Proofs of Claim; (ii) the Debtor’s Schedules;
or (iii) other records of Reorganized Debtor at the time of the distribution.

       10.2.2      Undeliverable and Unclaimed Distributions –
           (a)    Holding and Investment of Undeliverable and Unclaimed Distributions - If the
   distribution to any holder of an Allowed Claim is returned to Reorganized Debtor as
   undeliverable or is otherwise unclaimed, no further distributions shall be made to such holder
   unless and until Reorganized Debtor is notified in writing of such holder’s then-current
   address. Undeliverable and unclaimed distributions shall be set aside or, in the case of a Cash
   distribution, deposited in a segregated, interest-bearing account, designated as an “unclaimed
   distribution reserve” (the “Unclaimed Distribution Reserve”), for the benefit of all such
   similarly situated Persons until such time as a distribution becomes deliverable or is claimed.

           (b)    After Distributions Become Deliverable - Reorganized Debtor shall make all
   distributions that have become deliverable or have been claimed subsequent to a distribution,
   as the case may be, without interest.

                                                                                           21 | P a g e
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page22
                                                               45of
                                                                  of30
                                                                     58




           (c)    Failure to Claim Undeliverable Distributions - Any holder of an Allowed Claim
   that does not assert a claim pursuant to the Plan for an undeliverable or unclaimed distribution
   within one (1) year after the Confirmation Date shall be deemed to have forfeited its claim for
   such undeliverable or unclaimed distribution and shall be forever barred and enjoined from
   asserting any such claim for an undeliverable or unclaimed distribution against the Debtor and
   the Estate, Reorganized Debtor, or their property. In such cases, any Cash or other property
   held in the Unclaimed Distribution Reserve for distribution on account of such claims for
   undeliverable or unclaimed distributions shall become the property of Reorganized Debtor
   notwithstanding any federal or state escheat laws to the contrary. Nothing contained in the Plan
   shall require anyone to attempt to locate any holder of an Allowed Claim.

10.3      Withholding and Reporting Requirements. In connection with the Plan and all
distributions thereunder, Reorganized Debtor shall comply with all withholding and reporting
requirements imposed by any federal, state, local, or foreign taxing authority, and all distributions
hereunder shall be subject to any such withholding and reporting requirements.

10.4      IRS Form W-9. Within ninety (90) days of the Effective Date, an Internal Revenue
Service Form W-9 will be mailed to each Creditor to whom a Cash distribution is to be made. No
distribution hereunder shall be made to a Creditor until that Creditor prepares, executes, and
returns to Reorganized Debtor the Internal Revenue Service Form W-9.

10.5     Setoffs. Reorganized Debtor may, but shall not be required to, set off against any Claim
and the payments or other distributions to be made pursuant to the Plan in respect of such Claim,
Claims of any nature whatsoever that the Debtor may have against the holder of such Claim;
provided, however, that neither the failure to do so nor the allowance of any Claim hereunder shall
constitute a waiver or release by Reorganized Debtor of any such Claim that the Debtor may have
against such holder.

10.6      Payments and Distributions with Respect to Disputed Claims. No payment or
distribution under the Plan shall be made on account of any Claim unless and until such Claim
becomes an Allowed Claim by Final Order of the Court.
                                           ARTICLE 11
                                  EXECUTORY CONTRACTS

11.1 Generally. Upon the Effective Date, the Debtor assumes all Executory Contracts which
existed as of the Filing Date between the Debtor and any individual or entity, which: (i) have not
heretofore either been assumed or rejected by Final Order or (ii) are the subject of a separate
motion to assume or reject filed under Section 365 of the Bankruptcy Code by the Debtor prior
to the Confirmation Date are hereby assumed, unless listed on “Exhibit B” as specifically
rejected. Exhibit B may be modified by the Debtor from time to time until the commencement
of the confirmation hearing.

11.2 Cure of Defaults. Except to the extent that a different treatment has been agreed to by
the non-debtor parties to any Executory Contract or Unexpired Lease to be assumed pursuant
                                                                                         22 | P a g e
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page23
                                                               46of
                                                                  of30
                                                                     58




to this Article of the Plan, the Debtor shall cure any monetary defaults pursuant to Section
365(b)(1) of the Bankruptcy Code by payment by Reorganized Debtor of the Cure Claim in Cash
on the Effective Date. In the event of a dispute regarding: (i) the amount of the Cure Claim, (ii)
the ability of Reorganized Debtor to provide adequate assurance of future performance under the
contract or lease to be assumed, or (iii) any other matter pertaining to assumption, the Cure Claim
shall be paid by Reorganized Debtor following the entry of a Final Order resolving the dispute
and approving assumption.

11.3 Determination of Cure Claims. The Debtor shall, pursuant to Section 1123(a)(5)(G)
and 1123(b)(2) of the Bankruptcy Code and consistent with Section 365 of the Bankruptcy Code,
file and serve a pleading with the Court, within sixty (60) days after the Confirmation Date, listing
the Cure Claims of all Executory Contracts or Unexpired Leases to be assumed. The non-debtor
parties to such Executory Contracts and Unexpired Leases to be assumed by the Debtor shall have
fifteen (15) days from service to object to the proposed Cure Claim identified by the Debtor. The
Debtor shall retain its right to reject any of its Executory Contracts and Unexpired Leases,
including contracts or leases that are subject to a dispute concerning the amount of the Cure
Claim, until five (5) Business Days following the entry of a Final Order resolving an objection to
the amount of the Cure Claim.

11.4 Approval of Rejection of Executory Contracts. Entry of the Confirmation Order shall
constitute the approval of the rejection of any Executory Contracts to be rejected pursuant to this
Article of the Plan, in accordance with Section 365(a) of the Bankruptcy Code.

11.5 Rejection Damage Claims. Any Person or entity claiming rights under an Executory
Contract rejected pursuant to the provisions of this Article shall have no later than the earlier of
(a) thirty (30) days after the Effective Date, or (b) thirty (30) days after the date of any Final Order
approving a Debtor’s rejection of such Executory Contract to file with the Court any Claims
arising out of the rejection of an Executory Contract. Any Claim not Timely Filed shall be forever
barred and may not be asserted against the Debtor, Reorganized Debtor, or their property or their
Estate. Each Claim resulting from such rejection shall constitute a Class 5 Unsecured Claim.
                                           ARTICLE 12
                                         JURISDICTION

12.1      Retention of Jurisdiction. The Bankruptcy Court shall retain and have all of the
jurisdiction conferred upon it by the Bankruptcy Reform Act of 1978, including all amendments
thereof now existing or hereafter arising, and all amendments made to Title 28 of the United States
Code after October 1, 1979. Without limiting the foregoing in any way, the Bankruptcy Court shall
retain jurisdiction of this Chapter 11 Case after the Confirmation Date in respect to the following
matters through and until the date this Court shall enter a final decree:

        (i)       To enable any party in interest (including the Reorganized Debtor) to
consummate any and all proceedings that it may bring prior to the Confirmation Date to set aside
Liens, or to recover any preferences, transfers, assets, Claims or damages to which said party may
be entitled, or to reject any contracts and recover any property under the provisions of the
                                                                                            23 | P a g e
        Case
        Case21-60086
             21-60086 Document
                      Document108
                               91 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on01/27/22
                                                   03/02/22 Page
                                                            Page24
                                                                 47of
                                                                    of30
                                                                       58




 Bankruptcy Code or other federal or state law;

         (ii)     To hear and determine all Claims, and objections to Claims, including Claims
 arising from the rejection of any Executory Contract and any objections which may be made
 thereto;

         (iii)      To liquidate or estimate damages or determine the manner and time for such
 liquidation or estimation in connection with any contingent or unliquidated Claim;

        (iv)       To adjudicate all Claims to any Lien on any Property of the Estate or any
 proceeds thereof;

        (v)        To recover all assets and Property of the Estate, wherever located, to the extent
 necessary for the consummation of the Plan;

         (vi)        To Allow or disallow any Claim;

        (vii)      To resolve any disputes pertaining to the terms and conditions of the sale of any
 Property of the Estate;

         (viii)   To resolve any disputes pertaining to the business operations of the Debtor
 during the pendency of the Chapter 11 Case;

        (ix)       To enter any orders which may be necessary or appropriate to modify, carry out
 or enforce the provisions of the Plan;

         (x)         To determine any defaults under the Plan, and the consequences of such default;

         (xi)        To resolve any disputes over the meaning of any provision of the Plan;

         (xii)       To make such determinations as are specifically provided in the Plan;

        (xiii)   To hear and determine all requests for compensation and/or reimbursement of
 expenses which may be required under the Code, and not otherwise dispensed with under the Plan;
 and

       (xiv)     To enter a final decree pursuant to Section 350 of the Bankruptcy Code and
 Bankruptcy Rule 3022.

12.2      Failure of Bankruptcy Court to Exercise Jurisdiction. If the Bankruptcy Court
abstains or exercises discretion not to hear any matter within the scope of its jurisdiction, nothing
herein shall prohibit or limit the exercise of jurisdiction by any other tribunal having competent jurisdiction
over such matter.



                                                                                                  24 | P a g e
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page25
                                                               48of
                                                                  of30
                                                                     58




                                           ARTICLE 13
                                  MODIFICATION OF PLAN

13.1     Pre-Confirmation Modifications. Debtor may propose amendments or modifications to
the Plan at any time prior to the Confirmation Date, with leave of the Court and upon notice
pursuant to Section 1127(a) of the Bankruptcy Code and Bankruptcy Rules 3019.

13.2    Post-Confirmation Modifications. After the Confirmation Date, Modification of the
Plan is permitted only upon Court order and only as authorized under section 1193 of the
Bankruptcy Code.


                                           ARTICLE 14

                                    GENERAL PROVISIONS

14.1     The Trustee. The trustee appointed under section 1183(a) of the Bankruptcy Code
(“Trustee”) will have appropriate access to the management, books and records and professionals
of the Company to evaluate the Plan. The Trustee’s term is anticipated to end upon substantial
consummation of the Plan. As permitted by section 1194(b) of the Bankruptcy Code, the Plan
provides that the Debtor, and not the Trustee, will make all required payments under the Plan, thus
resulting in administrative cost savings. The Trustee shall make its required filings to discharge
his duties.

14.2     Discharge. If the Debtor’s Plan is confirmed under section 1191(a) of the Bankruptcy
Code, on the Effective Date of the Plan, the Debtor will be discharged from any debt that arose
before confirmation of this Plan, to the extent specified in § 1141(d)(1)(A) of the Bankruptcy Code,
except that the Debtor will not be discharged of any debt:

       (i)         imposed by this Plan; or

       (ii)        to the extent provided in § 1141(d)(6) of the Bankruptcy Code.

14.3     If the Debtor’s Plan is confirmed under section 1191(b) of the Bankruptcy Code,
confirmation of this Plan does not discharge any debt provided for in this Plan until the court grants
a discharge on completion of all payments due within the first 3 years of this Plan, or as otherwise
provided in § 1192 of the Bankruptcy Code. The Debtor will not be discharged from any debt:

       (i)        on which the last payment is due after the first 3 years of the plan, or as otherwise
provided in section 1192 of the Bankruptcy Code; or

       (ii)      excepted from discharge under § 523(a) of the Bankruptcy Code, except as
provided in Rule 4007(c) of the Federal Rules of Bankruptcy Procedure.


                                                                                           25 | P a g e
       Case
       Case21-60086
            21-60086 Document
                     Document108
                              91 Filed
                                 FiledininTXSB
                                          TXSBon
                                               on01/27/22
                                                  03/02/22 Page
                                                           Page26
                                                                49of
                                                                   of30
                                                                      58




The rights afforded in the Plan and the payments and distributions to be made hereunder shall be
in complete exchange for, and in full satisfaction and release of, all existing Claims, debts and
obligations of any kind, nature or description whatsoever of or against the Debtor or any of its
assets or property to the fullest extent permitted under section 1141(d)(1)(A) of the Bankruptcy
Code. Upon the Discharge Date under either section 14.2 or 14.3 of the Plan, all existing Claims
against the Debtor and Reorganized Debtor shall be and shall be deemed to be discharged except
as otherwise provided herein. All holders of Claims shall be precluded from asserting against the
Debtor, or any of its assets or property, any other or further Claim based upon any act or omission,
transaction or other activity of any kind or nature that occurred prior to the Effective Date, whether
or not such holder filed a proof of Claim. Upon the Discharge Date, the Debtor shall be deemed
discharged and released from any and all Claims, including, but not limited to, demands and
liabilities that arose before the Effective Date, and all debts of the kind specified in Sections 502(g),
502(h) or 502(i) of the Bankruptcy Code, whether or not (i) a proof of Claim based upon such
obligation is filed or deemed filed under Section 501 of the Bankruptcy Code; (ii) a Claim based
upon such debt is Allowed under Section 502 of the Bankruptcy Code; or (iii) the holder of a Claim
based upon such debt has accepted the Plan. Except as provided herein, the Confirmation Order
shall be a judicial determination of discharge of all liabilities of the Debtor and Reorganized
Debtor. In accordance with Section 524 of the Bankruptcy Code, the discharge provided for
hereunder shall void any judgment against the Debtor to the extent it relates to a Claim discharged
and operates as an injunction against the prosecution of any action against the Debtor or its
Property to the extent it relates to a discharged Claim. Notwithstanding anything in this Plan to
the contrary, confirmation of the Plan shall not release or discharge any non-debtor parties from
liability arising from any guaranty of any of the Debtor’s obligations nor shall the confirmation of
the plan be deemed a consent by any creditor to the release of any non-debtor for any obligation
guaranteed by any non-debtor party.

14.4      Injunction. Except as otherwise provided in the Plan, the Confirmation Order shall
provide, among other things, that from and after the Confirmation Date, all Persons or entities who
have held, hold, or may hold Claims against or Equity Interests in the Debtor are permanently
enjoined from taking any of the following actions against the Estate, Reorganized Debtor, or any
of their property on account of any such Claims or Equity Interests: (i) commencing or continuing,
in any manner or in any place, any action or other proceeding; (ii) enforcing, attaching, collecting
or recovering in any manner any judgment, award, decree or order; (iii) creating, perfecting or
enforcing any Lien or encumbrance; and (iv) commencing or continuing, in any manner or in any
place, any action that does not comply with or is inconsistent with the provisions of the Plan;
provided, however, that nothing contained herein shall preclude such Persons from exercising their
rights pursuant to and consistent with the terms of the Plan.

14.5      Temporary Injunction. A temporary injunction is hereby entered and shall be in effect
as of the Effective Date, prohibiting the commencement or continuation of any action or
proceeding against any affiliate, responsible person, guarantor, officer or director of the Debtor
that otherwise would be liable to such holder of a Claim for payment of such Claim for any reason
whatsoever, or against the property of any of the foregoing persons, so long as the Reorganized
Debtor is not in default of the payment terms of such Claim as provided herein. Further, the statute
of limitations against any guarantor is tolled during the period the Plan payments are not in default.
                                                                                             26 | P a g e
       Case
       Case21-60086
            21-60086 Document
                     Document108
                              91 Filed
                                 FiledininTXSB
                                          TXSBon
                                               on01/27/22
                                                  03/02/22 Page
                                                           Page27
                                                                50of
                                                                   of30
                                                                      58




As a material condition of this temporary injunction, Rebecca E. Boenigk and Jaye E. Congleton
covenant that they will not transfer any of their personal property or assets other than in the
ordinary course of business. As additional consideration for the temporary injunction herein,
Rebecca E. Boenigk and Jaye E. Congleton shall ratify their personal guarantees.

14.6      Exculpation. Neither the Debtor or Reorganized Debtor, or any of their respective
partners, general partners, members, officers, directors, employees, agents, advisors or
Professionals have or may incur any liability to any holder of a Claim or Equity Interest, or any
other party in interest, or any of their respective members or former members, agents, employees,
representatives, financial advisors, attorneys or affiliates, or any of their successors or assigns, for
any act or omission in connection with, relating to or arising out of the Chapter 11 Case, the
negotiation and pursuit of confirmation of the Plan, the consummation of the Plan or the
administration of the Plan (the “Chapter 11 Activities”), except for their acts or omissions
constituting willful misconduct or gross negligence, as finally determined by a court of competent
jurisdiction, and in all respects are entitled to reasonably rely upon the advice of counsel with
respect to their duties and responsibilities in connection with the Chapter 11 Activities. No holder
of a Claim, Equity Interest or any other party in interest, including their respective agents,
employees, representatives, financial advisors, attorneys or affiliates, have any right of action
against the Debtor, Reorganized Debtor, or any of their respective partners, general partners,
officers, directors, members, employees, agents, advisors or Professionals for any act or omission
in connection with the Chapter 11 Activities, except for their acts or omissions constituting willful
misconduct or gross negligence as finally determined by a court of competent jurisdiction.

14.7     Default in Plan Payments. In the event of a non-monetary or monetary default by the
Debtor under the Plan, the affected Creditor shall provide written notice of such default as provided
herein. The Debtor shall have thirty (30) days from the earlier to occur of: (i) the date of receipt
of the written notice sent by certified mail or by overnight delivery service, or (ii) the date of
receipt of the written notice sent by first class mail to cure the default. (For the purposes of the
written notice by United States first class mail, postage prepaid, such notice will be deemed
received five (5) days after depositing the same in the United States mail). In the event the Debtor
does not cure the default within the thirty (30) day period provided herein, the affected Creditor or
Interest Holder shall be entitled to pursue its state and/or federal law remedies –as limited by the
Plan– without further notice or hearing before the Court. In the event the Plan is confirmed
pursuant to 11 U.S.C. §1191(b), the following default provisions shall apply: Pursuant to 11 U.S.C.
§1191(c)(3), in the event that payments are not made by the Debtor as required by the Plan and
Confirmation Order, creditors and parties-in-interest shall have the right to seek dismissal or
conversion of the Bankruptcy Case. Creditors holding liens against particular assets of the Debtor
shall also have the right to file a motion for relief from the automatic stay. The temporary
injunction imposed by Section 14.5 of this Plan shall also expire and Creditors may pursue all
remedies under applicable law without further order from the Bankruptcy Court. The Bankruptcy
Court shall retain jurisdiction to determine all matters related to enforcement of the Plan and
Confirmation Order.

14.8    Revocation, Withdrawal or Non-Consummation. The Debtor reserves the right to
revoke or withdraw the Plan prior to the Confirmation Date and to file subsequent plans of
                                                                                            27 | P a g e
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page28
                                                               51of
                                                                  of30
                                                                     58




reorganization. If the Debtor revokes or withdraws the Plan, or if confirmation or consummation
does not occur, then: (a) the Plan shall be null and void in all respects, (b) any settlement or
compromise embodied in the Plan (including the fixing or limiting to an amount certain any Claim
or Class of Claims), assumption or rejection of Executory Contracts or Unexpired Leases affected
by the Plan, and any document or agreement executed pursuant to the Plan, shall be deemed null
and void, and (c) nothing contained in the Plan shall (i) constitute a waiver or release of any
Claims by or against, or any Equity Interests in, such Debtor or any other Person,(ii) prejudice in
any manner the rights of such Debtor or any other Person, or (iii) constitute an admission of any
sort by the Debtor or any other Person.

14.9      Severability of Plan Provisions. If, prior to confirmation, any term or provision of the
Plan is held by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court,
at the request of the Debtor, shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original
purpose of the term or provision held to be invalid, void or unenforceable, and such term or
provision shall then be applicable as altered or interpreted. Notwithstanding any such holding,
alteration or interpretation, the remainder of the terms and provisions of the Plan shall remain in
full force and effect and shall in no way be affected, impaired, or invalidated by such holding,
alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and
shall provide that each term and provision of the Plan, as it may be altered or interpreted in
accordance with the foregoing, is valid and enforceable pursuant to its terms.

14.10 Successors and Assigns. The rights, benefits and obligations of any entity named or
referred to in the Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign of such entity.

14.11 Final Decree. The Debtor shall file an application for entry of a final decree within one
(1) year after the Effective Date.

14.12 Binding Effect. Upon the date the Confirmation Order becomes a Final Order, the
provisions of the Plan shall bind the Debtor, the Reorganized Debtor, all Creditors and any party
in interest, whether or not such Creditor or party in interest has accepted or rejected the Plan,
pursuant to Section 1141 of the Bankruptcy Code.

14.13 Notices. Unless otherwise provided herein or in any Plan Supplement document, all
notices or demands required or permitted hereunder shall be deemed to have been duly given and
served when made in writing and deposited in the United States Mail, certified mail (return receipt
requested), in an envelope addressed to the last known address of the noticed party, with postage
prepaid. Any notices to be provided to the Reorganized Debtor shall be addressed as follows:




                                                                                       28 | P a g e
      Case
      Case21-60086
           21-60086 Document
                    Document108
                             91 Filed
                                FiledininTXSB
                                         TXSBon
                                              on01/27/22
                                                 03/02/22 Page
                                                          Page29
                                                               52of
                                                                  of30
                                                                     58




 To the Reorganized Debtor:

                 Neutral Posture, Inc.
                 Attn: Rebecca E. Boenigk
                 3904 N. Texas Avenue
                 Bryan, TX 77803

 With a copy to the attorneys for the Debtor:

                  Howley Law, PLLC
                  Attn: Eric Terry
                  Pennzoil Place – South Tower
                  711 Louisiana St., Suite 1850
                  Houston, Texas 77002
                  Email: eric@howley-law.com

14.14 Governing Laws. The Plan shall be governed by the laws of the State of Texas and the
laws of the United States, as may be applicable.

14.15 Cramdown, The Debtor will request Confirmation of the Plan, as it may be modified
from time to time, under Section 1129(b) of the Bankruptcy Code. The Debtor reserves the right
to modify the Plan to the extent, if any, that confirmation pursuant to Section 1129(b) of the
Bankruptcy Code requires modification.




                                                                                   29 | P a g e
Case
Case21-60086
     21-60086 Document
              Document108
                       91 Filed
                          FiledininTXSB
                                   TXSBon
                                        on01/27/22
                                           03/02/22 Page
                                                    Page30
                                                         53of
                                                            of30
                                                               58
                     Case
                      Case21-60086
                           21-60086 Document
                                     Document108
                                              88-1 Filed
                                                     FiledininTXSB
                                                               TXSBonon03/02/22
                                                                        01/26/22 Page
                                                                                  Page541 of
                                                                                          of 58
                                                                                             1


      Neutral Posture, Inc.                                                                                                                                                         EXHIBIT A
      Projected Income Statement ‐ 2022‐28


                                                2022 Total     2023 Total     2024 Total           2025 Total           2026 Total     2027 total       2028 total
      Sales & Other Income:
400   Gross Sales ‐ Seating/Acces                 5,000,000       5,500,000         5,500,000            6,050,000        6,655,000        7,320,500       7,320,500
401   Gross Sales ‐ Systems                       4,000,000       4,400,000         4,400,000            5,324,000        5,856,400        6,442,040       6,442,040
405   8(a) sales                                  1,450,000       1,595,000         1,754,500            1,929,950        2,112,945        2,335,240       2,335,240
415   Freight Charged Customer                      144,000         158,400           174,240              191,664          210,830          231,913         231,913
417   Fuel Surcharge                                    ‐               ‐                 ‐                    ‐                ‐                ‐               ‐
418   Teaming Admin/Installation Fee                100,000
419   Teaming Revenue                                                    ‐                                                                          ‐
420   Other Income (Expense)                            ‐                                                                                           ‐
         Net Sales                               10,594,000     11,653,400        11,828,740           13,495,614       14,835,175       16,329,693      16,329,693


500 Direct Material ‐ Seating/Acces               2,225,000      2,502,500         2,475,000            2,752,750        3,028,025        3,330,828       3,330,828
501 Direct material ‐ Systems                     1,720,000      1,909,600         1,936,000            2,342,560        2,576,816        2,834,498       2,834,498
    8(a) costs                                      652,500        717,750           789,525              868,478          950,825        1,050,858       1,050,858
505 Freight Out                                     953,460       1,048,806         1,064,587            1,214,605        1,335,166        1,469,672       1,469,672
510 Freight In                                      423,760         466,136           473,150              539,825          593,407          653,188         653,188
513 Installation Expense                            100,000         110,000           111,655              127,389          140,034          154,141         154,141
515 Labor & Related                               1,350,000       1,485,000         1,507,344            1,719,754        1,890,456        2,080,903       2,080,903
540 Warranty Expense                                 63,564          69,920            70,972               80,974           89,011           97,978          97,978
545 Research & Development                           42,376          46,614            47,315               53,982           59,341           65,319          65,319
550 Insurance                                       140,000         154,000           156,317              178,345          196,047          215,797         215,797
555 Supplies                                         42,000          46,200            46,895               53,503           58,814           64,739          64,739
560 Scrap/Obsolete Inv.                               6,000           6,600             6,699                7,643            8,402            9,248           9,248
564 Teaming COGS                                        ‐               ‐                 ‐                    ‐                ‐                ‐               ‐
565 Other COS                                        78,000          85,800            87,091               99,364          109,226          120,230         120,230
       Total Cost of Sales                        7,796,660      8,648,926         8,772,550           10,039,172       11,035,570       12,147,399      12,147,399
                                                                                                                 ‐                ‐                 ‐
      Gross Profit                                2,797,340      3,004,474         3,056,190            3,456,442        3,799,605        4,182,294       4,182,294
                                                                                                               ‐                ‐                ‐
      Selling General & Admin:                                                                                 ‐                ‐                ‐
600   Wages & Related                               945,000       1,039,500         1,055,141            1,203,828        1,323,319        1,456,632       1,456,632
625   Internal M&E                                      ‐               ‐                 ‐                    ‐                ‐                ‐               ‐
630   Business Travel                                48,000          52,800            53,594               61,147           67,216           73,988          73,988
635   Marketing/Advertising                          19,899          21,889            22,219               25,350           27,866           30,673          30,673
640   Commissions                                   826,332        908,965           922,642            1,052,658        1,157,144        1,273,716       1,273,716
645   Conventions                                       ‐               ‐                 ‐                    ‐                ‐                ‐               ‐
650   Showrooms                                         ‐               ‐                 ‐                    ‐                ‐                ‐               ‐
655   Spiffs                                         18,000          19,800            20,098               22,930           25,206           27,745          27,745
660   Novation & Dealer Rebates‐Fees                  6,000           6,600             6,699                7,643            8,402            9,248           9,248
665   Other Sales Expense                            12,000          13,200            13,399               15,287           16,804           18,497          18,497
670   Samples/Evals                                  18,000          19,800            20,098               22,930           25,206           27,745          27,745
680   Bad Debt Expense                                  ‐               ‐                 ‐                    ‐                ‐                ‐               ‐
685   Dues, Subscriptions & Licenses                 14,825          16,307            16,553               18,885           20,760           22,851          22,851
690   Professional & Design Fees                     65,000          71,500            72,576               82,803           91,022          100,192         100,192
695   Accounting Fees                                16,500          18,150            18,423               21,019           23,106           25,433          25,433
700   Consulting Fees                                60,000          66,000            66,993               76,434           84,020           92,485          92,485
705   Communication & Utilities                      71,081          78,190            79,366               90,550           99,538          109,566         109,566
715   Office Expenses                                95,000         104,500           106,072              121,020          133,032          146,434         146,434
720   Charitable Contributions                          ‐               ‐                 ‐                    ‐                ‐                ‐               ‐
725   Insurance                                      42,000          46,200            46,895               53,503           58,814           64,739          64,739
730   Property Taxes                                 96,000         105,600           108,768              112,031          115,392          118,854         122,419
740   Financial Fees                                 21,188          23,307            23,657               26,991           29,670           32,659          32,659
745   Other SG&A                                     39,198          43,118            43,766               49,934           54,890           60,420          60,420
      Bankruptcy attorney fees                       50,000
      trustee                                        10,000
         Total SG&A                               2,474,023      2,655,426         2,696,959            3,064,943        3,361,407        3,691,877       3,695,443
                                                                                            ‐                    ‐                ‐                 ‐                ‐
      Net Operating Inc(Loss)                       323,317        349,048           359,231              391,499          438,198          490,417         486,851


      taxable income                                323,317        349,048           359,231              391,499           438,198         490,417         486,851
      shareholder tax liability at 35%             (113,161)      (122,167)         (125,731)            (137,025)         (153,369)       (171,646)       (170,398)
      available for debt service                    210,156        226,881           233,500              254,474           284,829         318,771         316,453
      available monthly                              17,513         18,907            19,458               21,206            23,736          26,564          26,371

                                                   2022           2023             2024                 2025               2026            2027             2028
                 interest rate                         4.25%          4.50%                4.50%                5.25%          6.00%            6.50%           6.50%
                     available to pay monthly                                                                                                                            total over 7 years
                                  JPMChase           11,633         12,300            12,300               14,000            16,000          17,333          17,333        $1,210,800.00
                                       T2W            2,900          3,100             3,100                4,200             4,800           5,200           5,200         $342,000.00
                                   SBA EIDL           2,350          2,350             2,350                2,350             2,350           2,350           2,350         $225,600.00
                                                     16,883         17,750            17,750               20,550            23,150          24,883          24,883        $1,778,400.00
                remaining for unsecured                 630          1,157             1,708                                                                                  $41,937.45
                               Case21-60086
                              Case  21-60086 Document
                                              Document108
                                                       88-2 Filed
                                                              FiledininTXSB
                                                                        TXSBonon03/02/22
                                                                                 01/26/22 Page
                                                                                           Page551 of
                                                                                                   of 58
                                                                                                      2


                                                                  Exhibit B
                                                   Rejected Leases and/or Executory Contr

Name of Counter‐Party            Address
Dahill                           2700 Earl Rudder Freeway, College Station, TX 77845
Jenkinsdesign, LLC               4 Panorama Crest Ave., Las Vegas, NV 89135
Synergy Product Development      5037 68th St. SE, Caledonia, MI 49316
                              Case21-60086
                             Case  21-60086 Document
                                             Document108
                                                      88-2 Filed
                                                             FiledininTXSB
                                                                       TXSBonon03/02/22
                                                                                01/26/22 Page
                                                                                          Page562 of
                                                                                                  of 58
                                                                                                     2



racts

Description
Maintenance and lease agreement for 11 copiers
Royalty Agreement
Royalty Agreement
Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 57 of 58




                    EXHIBIT B
                     Case 21-60086 Document 108 Filed in TXSB on 03/02/22 Page 58 of 58


      Neutral Posture, Inc.
      Projected Income Statement ‐ 2022‐28


                                                2022 Total     2023 Total     2024 Total           2025 Total           2026 Total     2027 total       2028 total
      Sales & Other Income:
400   Gross Sales ‐ Seating/Acces                 5,000,000       5,500,000         5,500,000            6,050,000        6,655,000        7,320,500       7,320,500
401   Gross Sales ‐ Systems                       4,000,000       4,400,000         4,400,000            5,324,000        5,856,400        6,442,040       6,442,040
405   8(a) sales                                  1,450,000       1,595,000         1,754,500            1,929,950        2,112,945        2,335,240       2,335,240
415   Freight Charged Customer                      144,000         158,400           174,240              191,664          210,830          231,913         231,913
417   Fuel Surcharge                                    ‐               ‐                 ‐                    ‐                ‐                ‐               ‐
418   Teaming Admin/Installation Fee                100,000
419   Teaming Revenue                                                    ‐                                                                          ‐
420   Other Income (Expense)                            ‐                                                                                           ‐
         Net Sales                               10,594,000     11,653,400       11,828,740           13,495,614        14,835,175       16,329,693      16,329,693


500 Direct Material ‐ Seating/Acces               2,225,000      2,502,500         2,475,000            2,752,750        3,028,025        3,330,828       3,330,828        45.5%
501 Direct material ‐ Systems                     1,720,000      1,909,600         1,936,000            2,342,560        2,576,816        2,834,498       2,834,498        44.0%
    8(a) costs                                      652,500        717,750           789,525              868,478          950,825        1,050,858       1,050,858        45.0%
505 Freight Out                                     953,460       1,048,806         1,064,587            1,214,605        1,335,166        1,469,672       1,469,672       11.1%
510 Freight In                                      423,760         466,136           473,150              539,825          593,407          653,188         653,188       4.9%
513 Installation Expense                            100,000         110,000           111,655              127,389          140,034          154,141         154,141       1.2%
515 Labor & Related                               1,350,000       1,485,000         1,507,344            1,719,754        1,890,456        2,080,903       2,080,903       15.7%
540 Warranty Expense                                 63,564          69,920            70,972               80,974           89,011           97,978          97,978       0.7%
545 Research & Development                           42,376          46,614            47,315               53,982           59,341           65,319          65,319       0.5%
550 Insurance                                       140,000         154,000           156,317              178,345          196,047          215,797         215,797       1.6%
555 Supplies                                         42,000          46,200            46,895               53,503           58,814           64,739          64,739       0.5%
560 Scrap/Obsolete Inv.                               6,000           6,600             6,699                7,643            8,402            9,248           9,248       0.1%
564 Teaming COGS                                        ‐               ‐                 ‐                    ‐                ‐                ‐               ‐         0.0%
565 Other COS                                        78,000          85,800            87,091               99,364          109,226          120,230         120,230       0.9%
       Total Cost of Sales                        7,796,660      8,648,926         8,772,550          10,039,172        11,035,570       12,147,399      12,147,399        91.8%
                                                                                                                 ‐                ‐                 ‐                      0.0%
      Gross Profit                                2,797,340      3,004,474         3,056,190            3,456,442        3,799,605        4,182,294       4,182,294
                                                                                                               ‐                ‐                ‐                         0.0%
      Selling General & Admin:                                                                                 ‐                ‐                ‐                         0.0%
600   Wages & Related                               945,000       1,039,500         1,055,141            1,203,828        1,323,319        1,456,632       1,456,632       11.0%
625   Internal M&E                                      ‐               ‐                 ‐                    ‐                ‐                ‐               ‐         0.0%
630   Business Travel                                48,000          52,800            53,594               61,147           67,216           73,988          73,988       0.6%
635   Marketing/Advertising                          19,899          21,889            22,219               25,350           27,866           30,673          30,673       0.2%
640   Commissions                                   826,332        908,965           922,642            1,052,658        1,157,144        1,273,716       1,273,716
645   Conventions                                       ‐               ‐                 ‐                    ‐                ‐                ‐               ‐          0.0%
650   Showrooms                                         ‐               ‐                 ‐                    ‐                ‐                ‐               ‐          0.0%
655   Spiffs                                         18,000          19,800            20,098               22,930           25,206           27,745          27,745        0.2%
660   Novation & Dealer Rebates‐Fees                  6,000           6,600             6,699                7,643            8,402            9,248           9,248        0.1%
665   Other Sales Expense                            12,000          13,200            13,399               15,287           16,804           18,497          18,497        0.1%
670   Samples/Evals                                  18,000          19,800            20,098               22,930           25,206           27,745          27,745        0.2%
680   Bad Debt Expense                                  ‐               ‐                 ‐                    ‐                ‐                ‐               ‐          0.0%
685   Dues, Subscriptions & Licenses                 14,825          16,307            16,553               18,885           20,760           22,851          22,851        0.2%
690   Professional & Design Fees                     65,000          71,500            72,576               82,803           91,022          100,192         100,192        0.8%
695   Accounting Fees                                16,500          18,150            18,423               21,019           23,106           25,433          25,433        0.2%
700   Consulting Fees                                60,000          66,000            66,993               76,434           84,020           92,485          92,485        0.7%
705   Communication & Utilities                      71,081          78,190            79,366               90,550           99,538          109,566         109,566        0.8%
715   Office Expenses                                95,000         104,500           106,072              121,020          133,032          146,434         146,434        1.1%
720   Charitable Contributions                          ‐               ‐                 ‐                    ‐                ‐                ‐               ‐          0.0%
725   Insurance                                      42,000          46,200            46,895               53,503           58,814           64,739          64,739        0.5%
730   Property Taxes                                 96,000         105,600           108,768              112,031          115,392          118,854         122,419        0.9%
740   Financial Fees                                 21,188          23,307            23,657               26,991           29,670           32,659          32,659        0.2%
745   Other SG&A                                     39,198          43,118            43,766               49,934           54,890           60,420          60,420        0.5%
      Bankruptcy attorney fees                       50,000                                                                                                                 0.0%
      trustee                                        10,000                                                                                                                 0.0%
         Total SG&A                               2,474,023      2,655,426         2,696,959            3,064,943        3,361,407        3,691,877       3,695,443
                                                                                            ‐                    ‐                ‐                 ‐                ‐      0.0%
      Net Operating Inc(Loss)                      323,317         349,048           359,231              391,499          438,198          490,417         486,851


      taxable income                                323,317        349,048           359,231              391,499           438,198         490,417         486,851
      shareholder tax liability at 35%             (113,161)      (122,167)         (125,731)            (137,025)         (153,369)       (171,646)       (170,398)
      available for debt service                    210,156        226,881           233,500              254,474           284,829         318,771         316,453
      available monthly                              17,513         18,907            19,458               21,206            23,736          26,564          26,371

                                                   2022           2023             2024                 2025               2026            2027             2028
                 interest rate                         4.25%          4.50%                4.50%                5.25%          6.00%            6.50%           6.50%
                     available to pay monthly                                                                                                                            total over 7 years
                                  JPMChase           11,633         12,300            12,300               14,000            16,000          17,333          17,333        $1,210,800.00
                                       T2W            2,900          3,100             3,100                4,200             4,800           5,200           5,200         $342,000.00
                                   SBA EIDL           2,350          2,350             2,350                2,350             2,350           2,350           2,350         $197,400.00
                                                     16,883         17,750            17,750               20,550            23,150          24,883          24,883        $1,750,200.00
                remaining for unsecured                 630          1,157             1,708                  656               586                                           $56,840.45
